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               EXHIBIT A
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   1                   UNITED STATES DISTRICT COURT
   2                   EASTERN DISTRICT OF LOUISIANA
   3         MDL No. 2047                   Section L
             Judge Fallon                   Mag. Judge Wilkinson
   4

                   THIS DOCUMENT RELATES TO ALL CASES
   5

                 IN RE:     CHINESE-MANUFACTURED DRYWALL
   6                   PRODUCTS LIABILITY LITIGATION
   7
   8                CONFIDENTIAL - SUBJECT TO FURTHER
                           CONFIDENTIALITY REVIEW
   9
  10
  11
  12
  13
  14        Deposition of MARY VIRGINIA HAINDEL, taken on
  15    Tuesday, February 19, 2019, in the office of
  16    Barrios, Kingsdorf & Casteix, L.L.P., 701 Poydras
  17    Street, Suite 3650, New Orleans, Louisiana 70139,
  18    commencing at 9:11 a.m.
  19
  20
  21
  22
  23

        Reported by:
  24    AURORA M. PERRIEN
        CERTIFIED COURT REPORTER
  25    REGISTERED PROFESSIONAL REPORTER

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  1              INDEX                                   1   No. 20 (letter from ReconTrust   133
  2                                Page                           Company, N.A. to M. Haindel
  3                                                      2        dated 12.22.10)
      Caption .......................... 1
  4   Appearances ...................... 5                   No. 21 (4.11.07 - 3.23.11      139
                                                         3        spreadsheet, receipts,
  5   Agreement of Counsel ............. 7
  6                                                               invoices)
      Reporter's Certificate ........... 166             4
  7   Witness' Certificate ............. 169             5
  8                                                      6
  9                                                      7
 10                                                      8
           EXAMINATION
 11                                                      9
      MR. BARRY ........................ 8, 155
 12                                                     10
      MR. CHRISTINA .................... 143            11
 13   MS. FASSBENDER ................... 163            12
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 23
                                                        23
 24                                                     24
 25                                                     25

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  1
  2            EXHIBITS                                  1        APPEARANCES
      No. 1 U S. Department of Housing 16                2 REPRESENTING MARY HAINDEL:
  3        and Urban Development,                        3    BARRIOS, KINGSDORF & CASTEIX, L.L.P.
           Settlement Statement                               BY: EMMA K. SCHWAB, ESQ.
  4   No. 2 Cash Sale, Sale of         27
           Property ..                                   4    701 Poydras Street, Suite 3650
  5   No. 3 (Countrywide Home Loans          28               New Orleans, Louisiana 70139
           Monthly Home Loan                             5    504.524.3300
  6        Statements)                                        Eschwab@bkc-law.com
      No. 4 (copies of checks)         31
  7   No. 5 Chinchuba Creek Gardenhomes 47               6
           Upgrades                                           BECNEL LAW FIRM, L.L.C.
  8   No. 6 (documents relating to       56              7    BY: SALVADORE CHRISTINA, JR., ESQ.
           1224 Magnolia Alley)                               425 West Airline Highway, Suite B
  9   No. 7 (photographs)             61
      No. 8 (Champagne, Inc. quotes, 64                  8    LaPlace, Louisiana 70068
 10        invoices, receipts)                                985.536.1186
      No. 9 Residential Lease          83                9    Schristina@becnellaw.com
 11   No. 10 Atmosphere Movers, Inc., 88                10    BECNEL LAW FIRM, L.L.C.
           Invoice 2009-434
 12   No. 11 Liberty Self Storage, LLC, 90                    BY: TONI S. BECNEL, ESQ.
           One Month Lease                              11    425 West Airline Highway, Suite B
 13   No. 12 (4.1.09 - 4.2.13         92                      LaPlace, Louisiana 70068
           spreadsheet, receipts,
 14        invoices)                                    12    985.536.1186
           Taishan_Haindel000001 -                            Tbecnel@becnellaw.com
 15        000072                                       13
      No. 13 Plaintiff Profile Firm     98                    via telephone
 16        HaindelM000000001 -
           000000022                                    14    LEVIN, SEDRAN & BERMAN, L.L.P.
 17   No. 14 Supplemental Plaintiff       101                 BY: KEITH J. VERRIER, ESQ.
           Profile Form                                 15    510 Walnut Street, Suite 500
 18   No. 15 2008 Property Tax Parish of 113                  Philadelphia, Pennsylvania 19106-3697
           St. Tammany
 19        2009 Property Tax Parish of                  16    215.592.1500
           St. Tammany                                        Kverrier@lfsblaw.com
 20   No. 16 (letters and attachments 117               17
           from S. Marx/Chehardy                        18
 21        Sherman to Bank of America,
           N.A., dated 8.16.10 and                      19
 22        9 22.10)                                     20
      No. 17 Affidavit of Short Sale     126            21
 23   No. 18 (letter from J.         128                22
           Schaff/Latter & Blum dated
 24        9 9 14)                                      23
      No. 19 (letter and attachments from 130           24
 25        M. Haindel to J. Brasa dated                 25
           10.10.10)
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  1 REPRESENTING TAISHAN GYPSUM CO., LTD.:                1            MARY VIRGINIA HAINDEL,
  2    ALSTON & BIRD, L.L.P.
        BY: MICHAEL J. BARRY, ESQ.
                                                          2 after having been first duly sworn, testified on
  3     1201 West Peachtree Street                        3 her oath as follows:
        Atlanta, Georgia 30309-3424
  4     404.881.7000                                      4            EXAMINATION
        Mike.barry@alston.com                             5 BY MR. BARRY:
  5
        ALSTON & BIRD, L.L.P.                             6    Q. Miss Haindel, my name's Mike Barry.
  6     BY: MAE MANUPIPATPONG, ESQ.                       7       Do you mind stating your name for the
        1201 West Peachtree Street
  7     Atlanta, Georgia 30309-3424                       8 record.
        404.881.7000                                      9    A. My name's Mary Virginia Haindel.
  8     Mae manupipatpong@alston.com
  9                                                      10    Q. And -- and Haindel. So --
 10                                                      11    A. It's --
      REPRESENTING CNBM COMPANY, BNBM GROUP and
 11 BNBM, P.L.C.:                                        12    Q. I was mispronouncing that. I apologize.
 12    ORRICK, HERRINGTON & SUTCLIFFE, L.L.P.            13    A. No. That's okay.
        BY: ARIEL WINAWER, ESQ.
 13     405 Howard Street                                14    Q. If I do it again, tell me to stop and I'll
        San Francisco, California 94105-2669             15 make sure I get it right.
 14     415.773.5472
        Awinawer@orrick.com                              16       As I said, my name's Mike Barry. We met a
 15                                                      17 second ago. With my colleague Mae, we represent
        ORRICK, HERRINGTON & SUTCLIFFE, L.L.P.
 16     BY: DIANA S. FASSBENDER, ESQ.                    18 Taishan.
        1152 15th Street, North West
 17     Washington, District of Columbia 20005
                                                         19       MR. BARRY:
        202.339.8533                                     20          I know there are some unfamiliar faces
 18     Dszego@orrick.com
 19
                                                         21       in the room; so I'm going to ask everyone
 20                                                      22       just to go around and introduce
 21
 22
                                                         23       themselves. And we can start to my left
 23                                                      24       here.
 24
 25
                                                         25       MS. WINAWER:
                                                Page 7                                                        Page 9
  1             STIPULATION                               1          Sure. Ariel Winawer representing
  2   It is stipulated by and among Counsel that          2       BNBM Group, CNBM Company, and BNBM, PLC.
  3 the deposition of MARY VIRGINIA HAINDEL, is being     3       MS. FASSBENDER:
  4 taken under the Federal Rules of Civil Procedure      4          Diana Fassbender with Orrick on behalf
  5 for all purposes permitted under the law.             5       of BNBM.
  6   The formalities of reading and signing are          6       MS. SCHWAB:
  7 not waived.                                           7          Emma Schwab on behalf of plaintiffs.
  8   The formalities of sealing, certification           8       MS. BECNEL:
  9 and filing are not hereby waived. The party           9          Toni Becnel on behalf of the
 10 responsible for services of the discovery material   10       plaintiffs.
 11 shall retain the original.                           11       MR. CHRISTINA:
 12               * * * * *                              12          Salvador Christina on behalf of the
 13         Aurora M. Perrien, Certified Court           13       plaintiffs.
 14 Reporter, Registered Professional Reporter, in and   14       MR. BARRY:
 15 for the State of Louisiana, officiated in            15          And -- and Keith Verrier's on the
 16 administering the oath to the witness.               16       phone.
 17                                                      17 BY MR. BARRY:
 18                                                      18    Q. Have you -- have you ever sat for a
 19                                                      19 deposition before?
 20                                                      20    A. No. This is the first time.
 21                                                      21    Q. Well, I -- I'm sorry I'm the first time
 22                                                      22 you have to deal with this. I know sitting around
 23                                                      23 with a bunch of lawyers is probably right on your
 24                                                      24 list next to a root canal. But I appreciate you
 25                                                      25 being here. I appreciate your patience, and I


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  1 appreciate you talking to us.                         that's about it.
                                                          1
  2        And, you know, since you've never been       2    Q. When did you meet with your attorney?
  3 through this -- I'm sure your attorneys have        3    A. Last week.
  4 talked a little bit about it -- but I'll give some  4    Q. Okay. And I -- and -- and to be clear,
  5 rules of the road, how we work through this         5 I'm not asking for any content --
  6 deposition, just to make sure that we're using      6    A. No.
  7 time efficiently but also so that we can get        7    Q. -- of those conversations.
  8 everything on the record so our court reporter      8       Who was present when you were meeting with
  9 here can make sure that everything is written down 9 your attorney?
 10 well and properly.                                 10    A. My attorney, Sal; Toni; and Becket Becnel.
 11        I'm going to ask you questions. You're      11    Q. Okay. Was anyone else present? Did you
 12 going to answer them. Sometimes your attorney's 12 bring anybody with you?
 13 going to interject objections. It's very           13    A. Oh, no.
 14 important that we don't talk over each other. If   14    Q. Okay. Did you review any documents in
 15 I'm asking a question, if you -- even if you know  15 advance of this deposition?
 16 what you're about to say to my question, you know 16     A. Yes.
 17 the answer, just let me finish it so that we can   17    Q. Okay. Do you remember which documents
 18 make sure she can get everything down. And I'll    18 they are?
 19 do the same for you. I won't speak over you.       19    A. I don't. It just -- actually, it's just
 20 We'll probably both accidentally speak over each   20 my file that --
 21 over. So I may be a little nagging and remind you 21     Q. Okay.
 22 of that. I apologize for that in advance, but      22    A. -- I've had for 10 years.
 23 it's just important for getting it all down.       23    Q. Did you review your entire file?
 24        You know, we -- we don't have a ton of      24    A. No.
 25 time today, but I want to make sure that if you    25    Q. Okay. And if I put a document in front of
                                              Page 11                                                 Page 13
  1 ever need a break, you -- if you're -- you know,      1 you and you recognized it, you'd know what you
  2 need to run to the restroom, if you just want to      2 reviewed beforehand and what you hadn't?
  3 take a second, don't ever hesitate to ask me to       3    A. Yes.
  4 take a break. All I ask is that we finish the         4    Q. One more thing is, you know, I'm going to
  5 questions that are on the table and, if we have a     5 ask -- when I ask questions, if there's anything
  6 document in front of you, we finish the questions     6 I'm saying that is unclear or you're not sure
  7 on the document so we don't lose our trains of        7 about, please don't hesitate to ask me to rephrase
  8 thought. But, you know, whenever you need a           8 the question or clarify what I mean. I will ask
  9 break, don't hesitate to let me know. In that         9 some bad questions that I didn't mean to be bad,
 10 same vein, I'll probably be taking a break about     10 and so, please, you know, make sure that I'm -- I
 11 every hour, so just -- if you want to gauge that     11 want to make sure that you understand what I'm
 12 and know that. I'll probably be doing it anyway      12 saying.
 13 before you even ask me.                              13      Another part of this is, I'm losing my
 14       Now, have you -- do you understand that        14 voice, and so it's very low right now. And I
 15 you've been sworn in and must testify as if you're   15 apologize. So if you can't hear me, I'll try to
 16 in court and a judge were sitting right here with    16 speak up, but I physically cannot do that
 17 us?                                                  17 particularly well right now because I'm getting
 18    A. Yes.                                           18 over a little bit of a cold.
 19    Q. Okay. Are you taking any medications that      19      Are you currently employed?
 20 will impair your ability to give truthful            20    A. I'm self-employed.
 21 testimony?                                           21    Q. Okay. And what -- what are you doing in
 22    A. No.                                            22 your self-employment?
 23    Q. Okay. How did you prepare for this             23    A. I do jewelry appraisals. I'm a graduate
 24 deposition?                                          24 gemologist.
 25    A. Well, I met with my attorney once, and         25    Q. Okay. And do you have any specialty in

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  1 that, or just all across, any kind of gems?           1 my -- okay.
  2    A. Pretty much any kind of -- estate               2       MR. BARRY:
  3 antiques, I would tend -- if it's a very old          3          Do you mind handing me Tab 3.
  4 antique or something like that, I'd probably refer    4       MS. MANUPIPATPONG:
  5 it out.                                               5          Uh-huh.
  6    Q. And how long have you been self-employed?       6 BY MR. BARRY:
  7    A. I -- I mean, since I can remember. I            7    Q. Did -- when you paid around $316,000 --
  8 mean --                                               8 and I'll -- I'll put some documents in front of
  9    Q. Okay. So you've never --                        9 you --
 10    A. Well, I've been out of school 30 years.        10    A. Okay.
 11    Q. Okay.                                          11    Q. -- that will help you remember -- was any
 12    A. So let's just go with 30 years.                12 of that financed?
 13    Q. So you've never worked for a company --        13    A. Yes.
 14    A. Yes, I have. I've worked for                   14    Q. Okay. So I'm going to put some documents
 15 Kay Jewelers.                                        15 in front of you during this deposition. I'm going
 16    Q. Okay. And what -- do you have any              16 to hand it first to your counsel just to make sure
 17 employees who work for you?                          17 that --
 18    A. No.                                            18    A. Oh.
 19    Q. Okay. And are -- are you married?              19    Q. -- there's no issues with it. Once he
 20    A. No.                                            20 does that, he's going to hand it to the court
 21    Q. Have you ever been married?                    21 reporter, who's going to mark it as an exhibit,
 22    A. No.                                            22 and then you'll get a copy of it.
 23    Q. And have you ever been involved in a           23       So I'm handing what is going to be
 24 lawsuit other than this one?                         24 Exhibit 1, which is the HUD settlement statement.
 25    A. I'm thinking. To my -- I -- off the top        25       (Exhibit No. 1 was marked for
                                              Page 15                                                  Page 17
  1 of my head, no.                                       1   identification  and attached   hereto.)
  2    Q. No.                                         2       MR. BARRY:
  3      Now, talking a little bit about the          3          Mae, do you mind passing that and
  4 subject matter of this lawsuit, what is the       4       distributing it to everybody.
  5 address of the property that you allege has been  5 BY MR. BARRY:
  6 damaged by Chinese drywall?                       6    Q. Whenever I put something in front of you,
  7    A. 1224 Magnolia Alley --                      7 please feel free to take as much time as you want
  8    Q. Do --                                       8 reviewing it. I know some of this is not fresh in
  9    A. -- Mandeville.                              9 your mind, and some of these documents you may not
 10    Q. Do you still live in that property?        10 have seen fully. But I -- for most of these, I
 11    A. No.                                        11 won't be asking you about the whole thing. I'll
 12    Q. And when did you purchase that property?   12 just be asking you about certain parts of it.
 13    A. I don't remember exactly, but I believe it 13    A. Okay.
 14 was June 2008.                                   14    Q. Do you recognize this document?
 15    Q. Okay. And who did you purchase that        15    A. Yes.
 16 property from?                                   16    Q. And do you -- do you know what this
 17    A. The builder, Lee Laporte.                  17 document is?
 18    Q. Okay. And was it a new property at that    18    A. I believe it's a -- is this a HUD
 19 time?                                            19 statement?
 20    A. Yes.                                       20    Q. And earlier you said that you believe that
 21    Q. And did you -- do you remember how much 21 it was around $316,000 that you paid for the
 22 you paid for that property?                      22 house. Is that amount reflected here?
 23    A. It was somewhere around $316,000 --        23    A. Yes.
 24    Q. Okay.                                      24    Q. Did you have to pay anything more? Did
 25    A. -- somewhere around there. Because I --    25 you have to pay any kind of settlement charge --

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  1 charges?                                                 1       THE WITNESS:
  2    A. I don't -- what do you mean "settlement            2         Does it need to go to the court . . .
  3 charges"?                                                3       MR. CHRISTINA:
  4    Q. Was there any additional amounts that you          4         Uh-uh.
  5 had to pay for the house, you know, anything that        5       MR. BARRY:
  6 related to the closing of purchasing the home?           6         She's got it memorized. She doesn't
  7    A. You mean like a deposit? No.                       7       need it.
  8    Q. No.                                                8 BY MR. BARRY:
  9       Well, did you pay any money down for the           9    Q. Do you recognize this document?
 10 home?                                                   10    A. Yes, I do.
 11    A. Yes.                                              11    Q. Do you want to take a chance to take a
 12    Q. Okay. And how much did you pay down?              12 look at it or . . .
 13    A. Forty-six -- according to this, 46,000.           13       Now that you've had a chance to review it,
 14    Q. And was the rest financed?                        14 is -- what -- do you -- what is this document?
 15    A. Yes.                                              15    A. It's a cash sale.
 16    Q. Do you remember who you received -- or who        16    Q. Okay. And does this include the mortgage
 17 you got the loan from?                                  17 that you used to finance the property?
 18    A. I do not remember.                                18    A. I do not -- I don't know.
 19    Q. Okay. If you look at Line 103 --                  19    Q. If you turn to the third page or the third
 20    A. Yes.                                              20 document here.
 21    Q. -- where it says 11,025.38 --                     21    A. Yes.
 22    A. Yes.                                              22    Q. So is that the mortgage that you used --
 23    Q. -- was that any -- do -- did you have to          23    A. Yes.
 24 pay that amount as part of the settlement charges       24    Q. Okay. And on the fourth page here, under
 25 or did the borrower pay that or --                      25 Paragraph E, it says that you were financing

                                                 Page 19                                               Page 21
  1    A. It says --                                         1 $284,400.
  2    Q. -- for the --                                      2       Is -- do you remember -- recall if that
  3    A. -- the borrower.                                   3 was the amount of --
  4    Q. So are you the borrower?                           4    A. Yes.
  5    A. Yes.                                               5    Q. -- the mortgage that you took?
  6    Q. Did you have to pay that 11,025 --                 6    A. Yes.
  7    A. Yes.                                               7    Q. And in Paragraph D, it says the lender is
  8    Q. -- 36 cents -- 38 cents?                           8 Quicken Loans.
  9    A. Yes.                                               9       Is that who you recall to be the lender
 10    Q. Do you remember paying that amount?               10 from whom you --
 11    A. No. I mean, no, I don't.                          11    A. Yes.
 12    Q. You don't. Okay.                                  12    Q. -- took the loan?
 13    A. I just -- I mean, this is a long time ago.        13    A. Yeah.
 14    Q. I totally understand. And hey, you know,          14    Q. And it says that the loan ran until
 15 if there's stuff that you just don't remember,          15 July 1st, 2037.
 16 you're not sure, don't hesitate to tell me that.        16       Do you remember taking a 30-year loan on
 17       Now, when you purchased this home, did --         17 this?
 18 do you remember if any amount of the sale price         18    A. Yes.
 19 went to satisfy a prior mortgage?                       19    Q. Okay. Did you take any other mortgages or
 20    A. Oh, no.                                           20 loans on the property?
 21    Q. Okay.                                             21    A. You mean, like, a second --
 22    A. No.                                               22    Q. Yes.
 23       MR. BARRY:                                        23    A. -- a . . . No.
 24          Let's see Tab 2.                               24    Q. Did you take any type of home equity loan
 25          A document here (tenders).                     25 or --


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  1    A. No.                                                1 house, were you current on all payments?
  2    Q. -- anything like that?                             2    A. Yes.
  3        And -- and I apologize. That's -- make --         3    Q. Okay. So sometime after March 2009 --
  4 let's -- let's make sure I'm finishing the               4    A. Yes.
  5 question beforehand. I know you know exactly what 5           Q. -- that you stopped paying on the house?
  6 I'm saying. You're -- you -- my -- my questions          6    A. Yes.
  7 aren't subtle. So don't -- don't -- I -- I know          7    Q. When you moved out of the house, where did
  8 you want to get that answer out, but if you don't        8 you move to?
  9 mind letting me finish. It just makes her life a         9    A. My sister had passed away; so the family
 10 lot easier.                                             10 had a home a few blocks away, and I went there.
 11    A. I'm sorry.                                        11    Q. When you moved to that home, were you
 12    Q. Now, do you -- when -- did you pay -- I --        12 having to pay rent on that home?
 13 I know at some point you were -- you sold the           13    A. Yes.
 14 home; is that correct?                                  14    Q. And so when you started paying rent on
 15    A. Uh-huh.                                           15 that -- the -- the family home, was that when you
 16    Q. Do you remember when you sold the home?           16 stopped paying on the mortgage?
 17    A. December 2010.                                    17    A. No. No. The rent was an agreement for --
 18    Q. Okay. When you sold the home in                   18 with my brothers, because they understood the
 19 December 2010, were you current on the mortgage? 19 dynamics. I had just experienced Katrina.
 20    A. No.                                               20    Q. Right.
 21    Q. When did you stop paying on the mortgage?         21    A. And they understood financially how -- how
 22    A. I don't remember.                                 22 this could be very hard. So they said, Listen --
 23    Q. Okay.                                             23 because we didn't expect this to take 10 years.
 24    A. But it's -- it -- I don't remember exact          24 They said, Mary, when you -- when you resolve
 25 time.                                                   25 that, we will do this, But you -- we -- we -- we

                                                  Page 23                                                  Page 25
  1    Q. Do you think you paid for a year?                  1 need some kind of document from you stating that
  2    A. We -- yeah. I mean, we -- after I moved            2 you're going to do this, and that's how the lease
  3 out? I'm -- I don't understand the question.             3 got written. Because that's what the -- that's
  4    Q. So you -- we -- we've got here -- this             4 what -- that's what the house would have rented
  5 says that the mortgage was in 2007; is that              5 for had I not been living in it.
  6 correct?                                                 6    Q. And so to be clear, you were paying your
  7    A. Okay.                                              7 brother some sort of rent during --
  8    Q. So I'm -- I'm trying to understand from            8    A. No. I have --
  9 when you got the mortgage to what point did you          9    Q. -- that time?
 10 stop paying on the mortgage.                            10    A. -- not.
 11      Do you remember when you stopped paying on         11    Q. Okay. So you were never paying rent on
 12 the mortgage?                                           12 that house?
 13    A. Yeah. No.                                         13    A. No. The intent was to pay rent once this
 14    Q. When did you move out of the house? You           14 resolves. They didn't expect it to take 10 years.
 15 said that . . .                                         15 I ended -- I ended up selling the house.
 16    A. I moved out in April. I think it was              16    Q. Okay. And -- and -- and perhaps I'm --
 17 March or April 2009.                                    17 I'm just not understanding this.
 18    Q. Okay.                                             18       So we have the one house, which is the
 19    A. No. No. No. No. No. No. Yeah, I                   19 home that had Chinese drywall in it.
 20 believe it was. It was early -- it was -- the           20    A. That's correct.
 21 time runs together; so I -- yeah. I wasn't in           21    Q. And then there is the home that you moved
 22 there that long.                                        22 into, which was the family home; correct?
 23    Q. Totally understand.                               23    A. That's right.
 24    A. So . . .                                          24    Q. Which -- which home was the rent -- the
 25    Q. And during the time you lived in the              25 rental agreement with your brothers corresponding


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  1 to?                                                     1        MR. BARRY:
  2    A. The family home.                                  2           I'm going to hand to your attorney
  3    Q. Family home.                                      3        what will be Exhibit 3.
  4       So were you paying rent on that family            4        (Exhibit No. 3 was marked for
  5 home, or are you owing rent once this resolves?         5        identification and attached hereto.)
  6    A. Owing rent.                                       6 BY MR. BARRY:
  7    Q. Okay. So you've not had to pay any amount         7    Q. The court reporter is labeling as
  8 on that house so far?                                   8 Exhibit 3 a document where the first document is
  9    A. No.                                               9 entitled "Countrywide Home Loans," "Monthly Home
 10    Q. Okay. And are you currently living in            10 Loan" Statements.
 11 that family home?                                      11        Have you seen this document before?
 12    A. No. I had to sell it.                            12    A. Yes.
 13    Q. Okay. Where -- where are you currently           13    Q. Do you want to take a second to review it
 14 living?                                                14 or . . . I'll be asking you about it generally,
 15    A. I'm living Downtown, on Girod and O'Keefe.       15 not specifically.
 16    Q. Okay. And when did you move to that home?        16    A. Okay.
 17    A. To Girod and O'Keefe?                            17    Q. Now you've had a chance to review the
 18    Q. Uh-huh.                                          18 document.
 19    A. Two years ago, three years ago.                  19        Are -- what is this document?
 20    Q. So from 2009 until about two to                  20    A. It's the amount owed, or you could call
 21 three years ago, you were living in the family         21 them payment coupons for the mortgage.
 22 home?                                                  22    Q. So here, you know, in the first page,
 23    A. No.                                              23 we've got a document that says "Statement date,"
 24    Q. Okay. Where were you living during that          24 January 9, 2008. It says it at the top. It's
 25 time period?                                           25 really small type there. And then it shows home

                                                Page 27                                                  Page 29
  1   A. Many places. I lived in Florida for about     loan 1overview.   It has $282.909.96   in principal
  2 four years, and then I came back to the city.    2 balance and a payment of $2001.04 owed.
  3   Q. Okay.                                       3       Did -- do you remember on this loan
  4   A. And I . . .                                 4 whether you -- how much you paid down in principal
  5   Q. How long did you live in that family home? 5 on the loan?
  6   A. Two years.                                  6    A. Well, I guess 316,000 minus 282 would have
  7   Q. So you sold it roughly in 2011. Is that     7 been the down payment.
  8 about right?                                     8    Q. Well -- so -- I -- and I apologize.
  9   A. '11 or '12. I --                            9       To clarify that, over the life of the loan
 10   Q. Okay.                                      10 -- I know you said you sold it in roughly 2010; is
 11   A. Somewhere around there.                    11 that correct?
 12   Q. Let's see.                                 12    A. Uh-huh.
 13      COURT REPORTER:                            13    Q. Do you remember how much you paid to
 14         Can we go off the record for a second?  14 principal  during that time period?
 15      MR. BARRY:                                 15    A. No.
 16         Yeah. Of course.                        16    Q. Okay. Did you ever -- I -- I know you
 17      (There is an off-the-record discussion.)   17 made your monthly payments for a period of time.
 18      MR. BARRY:                                 18       Did you ever make a lump sum payment to
 19         I just want to make -- clarify for the  19 pay down principal?
 20      record that Exhibit 2 is a document        20    A. No.
 21      entitled "Cash Sale," and that was what we 21    Q. So any payment to principal would have
 22      were discussing with the witness a moment  22 come   through your monthly payments; is that
 23      ago.                                       23 correct?
 24      (Exhibit No. 2 was marked for              24    A. Yes.
 25      identification and attached hereto.)       25    Q. Okay. And do you remember the terms of

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   1 your loan, whether you had an interest-only loan    1    Q. Do you know if this would be related to
   2 or anything, balloon payments or . . .              2 the home?
   3    A. No. It was a regular 30-year --               3    A. I doubt it.
   4    Q. Fixed?                                        4    Q. Okay. Is that $3,288.34 damage -- or
   5    A. -- loan. Yes. And it's -- PMI, I think,       5 damages or compensation you're asking from the
   6 was in there as well.                               6 defendants in this case?
   7      MR. BARRY:                                     7    A. I don't know.
   8         Okay. If you could hand me 16,              8    Q. You don't know.
   9      please.                                        9      Turning to the next page, there is a check
  10 BY MR. BARRY:                                      10 in the amount of 1,700 and 47 cent -- or $47.14,
  11    Q. On this document, do you know if there       11 and it's made to Bank of America, signed by you.
  12 were any other monthly statements that may be      12    A. Yes.
  13 missing from here?                                 13    Q. Do you know what that would be payment
  14    A. I don't -- I don't understand the            14 for?
  15 question.                                          15    A. Yes.
  16    Q. These are monthly statements from the home   16    Q. What would that be payment for?
  17 loan that you had the mortgage loan.               17    A. I refinanced the house to get a lower
  18    A. Uh-huh.                                      18 interest rate, and that was the bank that had the
  19    Q. Do you know if there's -- if there are any   19 note at the time of Chinese drywall, right -- it
  20 other monthly statements that we perhaps do not    20 was done right before it was discovered.
  21 have in our possession?                            21    Q. So, you know, you -- you took the loan
  22    A. In relation to . . .                         22 originally with Quicken Loans and then --
  23    Q. To the mortgage loan.                        23    A. Which was -- which was Countrywide.
  24    A. No. Not to my knowledge.                     24    Q. Okay. And then it was -- was Countrywide
  25    Q. Okay.                                        25 either the servicer, or was it the original holder

                                              Page 31                                                Page 33
   1    A. I can't think of any.                         1of the note?
   2       MR. BARRY:                                   2    A. I don't know.
   3          I'm going to hand your counsel a          3    Q. You don't?
   4       document. Now I'm marking as Exhibit 4 --    4    A. I don't.
   5       and the court reporter wisely told me        5    Q. And at some point Bank of America held the
   6       which one I'm on, because I always forget.   6 note?
   7       (Exhibit No. 4 was marked for                7    A. Yes.
   8       identification and attached hereto.)         8    Q. Okay. So the 1,747.14 was part of a
   9 BY MR. BARRY:                                      9 refinance?
  10    Q. And Document 1, Page 1 here has a check in 10     A. Yes. Well, it was the new note for the
  11 Mary Virginia Haindel, and it's paid to the order 11 refinance.
  12 of AmTrust. Miss Haindel, do you mind looking     12    Q. Okay. Do you remember what the terms of
  13 through these checks. I'm going to ask you what   13 that refinance were?
  14 each of these are and what they're payment for.   14    A. Thirty-year fixed.
  15       So starting for the first document, there   15    Q. Okay. So you didn't change to, you know,
  16 is a check to AmTrust in the amount of -- I think 16 a 10-year adjustable --
  17 that's 3,288.34. The 2 is a little bit hurt on    17    A. No. No. No. No.
  18 the copy; so I think that's correct.              18    Q. -- or anything like that? You still --
  19       Do you know what that was --                19    A. No.
  20    A. I don't --                                  20    Q. -- stayed with a fixed?
  21    Q. -- for?                                     21    A. Yes.
  22    A. -- remember that.                           22    Q. Do you remember how much your interest
  23    Q. Who's AmTrust?                              23 rate decreased to?
  24    A. That's the thing, I don't know. I don't     24    A. No.
  25 remember it.                                      25    Q. No?

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   1    A. It was less, 1747. So . . .                     1    A. Yes.
   2    Q. Okay. And this was after you learned of         2    Q. Do you remember how much those monthly
   3 Chinese drywall in --                                 3 payments were?
   4    A. No. It --                                       4    A. No. No idea other -- no.
   5    Q. -- your house?                                  5    Q. Did -- did you ever have to pay an
   6    A. -- was before.                                  6 assessment?
   7    Q. Before. Before. Okay.                           7    A. No.
   8      And what was the reason for why you were         8    Q. Okay.
   9 refinancing?                                          9    A. To my -- I don't think so. No.
  10    A. Lower the interest rate.                       10    Q. At some point before the sale of the house
  11    Q. If you turn to the next check here,            11 affected by Chinese drywall, did you stop paying
  12 Page 3, there's a check dated 11/1/09, and it's      12 the HOA?
  13 paid to the order of Joseph Haindel. It's $125.      13    A. Where?
  14    A. Yes.                                           14    Q. At the house -- at -- the Sanctuary HOA?
  15    Q. And I mispronounced Haindel. Again, you        15    A. No. No. Sanctuary, no.
  16 got to correct me if I'm saying that wrong.          16    Q. So you --
  17    A. No. It's all right.                            17    A. Neither one -- actually, neither house.
  18    Q. For $125. What is this check?                  18 They both had HOAs. I did not stop paying on
  19    A. My brother and I own real estate               19 either HOA.
  20 together --                                          20    Q. Okay.
  21    Q. Okay.                                          21      MS. SCHWAB:
  22    A. -- and I manage it. And so I owe him his       22         Can we --
  23 half of the rent.                                    23 BY MR. BARRY:
  24    Q. Okay. And where is that real estate?           24    Q. Turning to the --
  25    A. The Lakefront airport.                         25      MS. SCHWAB:
                                                Page 35                                                   Page 37
   1     Q. Is this $125 something you're claiming as      1    Can  we   go off the record real quickly?
   2 damages in this litigation?                       2      MR. BARRY:
   3     A. No.                                        3        Yeah.
   4     Q. Okay. This next document is dated          4      (There  is an off-the-record discussion.)
   5 11/1/09. It says, I think, "Sanctuary HOA," but   5 BY MR. BARRY:
   6 it's not copied well. It says "$45.00."           6    Q. So Miss Haindel, the Sanctuary HOA
   7       What is that payment?                       7 corresponded to what house?
   8     A. I don't know what it's for. It says        8    A. To the family home.
   9 "Sanctuary under the stars." Sanctuary has        9    Q. Okay. And the -- what was the HOA that
  10 HOAs --                                          10 corresponded to the home that was affected by
  11     Q. Okay.                                     11 Chinese drywall?
  12     A. -- so there's no telling what this was    12    A. Chinchuba Creek Gardenhomes.
  13 for. I was paying the HOAs.                      13    Q. Okay. And once you learned of Chinese
  14     Q. Is Sanctuary the -- HOA the --            14 drywall in the house, did you continue paying on
  15     A. It's the sub of the house that I was      15 the HOA?
  16 living in after Chinese drywall.                 16    A. Yes.
  17     Q. So after Chinese drywall?                 17    Q. And did you continue paying on the HOA for
  18     A. During.                                   18 Sanctuary too during that time period?
  19     Q. During Chinese drywall?                   19    A. Yes.
  20     A. Excuse me. During.                        20    Q. Okay. So the check we just looked at a
  21     Q. So the home that is affected by Chinese   21 moment ago was to the Sanctuary HOA, which was the
  22 drywall was part of an HOA; is that correct?     22 family home; correct?
  23     A. That's correct.                           23    A. Yes.
  24     Q. Okay. And as part of an HOA, did you have 24 Q. And just for ease of reference, if I'm
  25 to pay monthly payments?                         25 saying "the property," I'm going to be referring


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   1 to the home that was affected by Chinese drywall.   1   Q. I'm sorry. Let me finish the question. I
   2 And if I'm saying "the family home," I'll be       2 apologize. I know it's -- I know you know exactly
   3 referring to the family home, because there's a    3 what I'm going to say.
   4 lot of homes here.                                 4    A. Well, I'm --
   5       So now we're on a check that's for Bank of   5    Q. But --
   6 America, $1,747.14. I'm assuming this is another   6    A. -- not sure. But, you know . . .
   7 mortgage payment --                                7    Q. No. You've got it right pretty much every
   8    A. Yes.                                         8 time. So . . .
   9    Q. -- after the refinance?                      9       So was there a prior contract of sale for
  10    A. Yes.                                        10 the home before you sold it?
  11    Q. And same thing for the one after that?      11    A. I'm not -- that's not clear.
  12    A. I'm not sure.                               12    Q. Okay.
  13    Q. It says $1,747.14.                          13    A. I don't understand --
  14    A. Oh, yeah. That, yes. I'm sorry. Turn        14    Q. My question's not --
  15 the page.                                         15    A. Yeah.
  16    Q. This is the check that says 4/11/10.        16    Q. -- clear?
  17    A. Wait. I don't -- I don't know if I have     17    A. Yeah.
  18 that.                                             18    Q. Okay. So you sold the home. And you said
  19    Q. So we've got one that's --                  19 that before that there was a sale that fell
  20    A. Oh, yes. Yes. That, yes. That is for        20 through.
  21 the mortgage for Chinchuba Creek Gardenhome.      21       Was that -- that sale that fell through,
  22    Q. And then we've got one that says            22 was there a contract of sale for the home before
  23 Delta Title, which is dated 11/12/2010 for        23 that fell through?
  24 $15,000?                                          24    A. I'm still not -- I'm not --
  25    A. Yes.                                        25    Q. So did the prior -- the -- there was a
                                               Page 39                                               Page 41
   1    Q. Do you know what that's for?                  1 buyer who the sale fell through on; is --
   2    A. Yes.                                          2    A. Yes.
   3    Q. What is that for?                             3    Q. -- that correct?
   4    A. Wait. You know what? I'm not sure what        4      Did they make an offer on the home?
   5 that's for.                                         5    A. Yes.
   6    Q. Do you know who Delta Title is?               6    Q. Did they sign a contract to --
   7    A. I do. I believe that was for the closing      7    A. Yes.
   8 for -- I think that was for the closing for the --  8    Q. -- buy the home?
   9 for Chinchuba Creek, when it went to close, I       9    A. Yes.
  10 think.                                             10    Q. When they signed the contract to buy the
  11    Q. Okay.                                        11 home, what -- what -- at what point in the sale
  12    A. I'm not a hundred percent sure, but I        12 process did it fall through?
  13 think so. Looking at the date -- and look at the   13    A. Quickly, when they realized that it -- I
  14 amount -- that's my guess, but I'm not sure.       14 guess the Chinese drywall, and they didn't inspect
  15    Q. And so was November 2010 when you recall 15 -- it was just -- they got -- they pulled -- they
  16 selling the home?                                  16 said no.
  17    A. Yeah. Well, it was around that time.         17    Q. Had you disclosed that there was Chinese
  18    Q. Okay.                                        18 drywall in the --
  19    A. Yeah. Around that time. Because it           19    A. Oh, yes.
  20 failed. The person trying to buy it, the bank      20    Q. -- house at the time?
  21 started . . . And then we went back again in       21    A. Yeah. Well, the agents did.
  22 December. So . . .                                 22    Q. Now, beyond the mortgage, were there any
  23    Q. It failed, and so are you saying that        23 other loans on the house?
  24 there was a prior --                               24    A. No.
  25    A. There was a -- there was --                  25    Q. Did you have any liens on the property?

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   1    A. No.                                             1 -- that you moved out to move into the family
   2    Q. Did -- do you know -- do you own any -- or      2 home, did you live in the house that whole time?
   3 do you owe any money on the property today?           3    A. Yes.
   4    A. On what property?                               4    Q. So you -- there was no period where you
   5    Q. On -- on the -- sorry. "The property" is        5 were living in your Florida house or something
   6 the Chinese drywall one. I know --                    6 like that?
   7    A. No. No. To my knowledge, no.                    7    A. Oh. No. But I was coming and going a
   8    Q. Okay. Do you own any other properties?          8 lot --
   9    A. Yes.                                            9    Q. Okay.
  10    Q. What properties do you own?                    10    A. -- you know.
  11    A. Commercial.                                    11    Q. What -- did that -- the house that is --
  12    Q. Do you own any other residential               12 was affected by Chinese drywall, did anyone else
  13 properties?                                          13 ever live there with you?
  14    A. Yes, but I use it commercially. I rent it      14    A. No. Not live. No.
  15 out. It's in another state.                          15    Q. People would stay --
  16    Q. Okay. What state is it in?                     16    A. Yes.
  17    A. Florida.                                       17    Q. -- on the weekends or something?
  18    Q. Okay. Where in Florida?                        18    A. Yes.
  19    A. Miramar Beach.                                 19    Q. Did you ever rent the home to someone,
  20    Q. From the time that you learned that there      20 rent the house that was affected by Chinese
  21 was Chinese drywall in the home to the time that     21 drywall to somebody?
  22 you sold the property, did you own any residential   22    A. No.
  23 -- other residential properties?                     23    Q. Did you ever try to rent the house?
  24    A. Repeat that question.                          24    A. No.
  25    Q. From the time you learned that there was       25    Q. Did you ever make any renovations to the
                                               Page 43                                                Page 45
   1 Chinese drywall in the house --                     house affected by Chinese drywall?
                                                           1
   2    A. Yes.                                        2    A. Yes.
   3    Q. -- until the time that you sold the         3    Q. What renovations did you make?
   4 property affected by Chinese drywall --           4    A. Well, I don't know if this is considered a
   5    A. Yes.                                        5 renovation, but I had to -- I added a HEPA filter
   6    Q. -- did you own any other residential        6 to it. And when they went in to do the HEPA
   7 properties?                                       7 filter, they said they -- I needed better
   8    A. Yes.                                        8 ventilation. So I don't know -- I'm -- don't
   9    Q. What were those properties?                 9 know. I didn't watch them do what they did. But
  10    A. The family home --                         10 they opened up different parts I guess to let air
  11    Q. Just the family home?                      11 in and out of the house.
  12    A. -- and property in Florida.                12    Q. Do you --
  13    Q. Okay. Now, the family home, did you own 13 A. I don't know if that's considered
  14 that house outright, or did you own that jointly 14 renovation.
  15 with your brothers?                              15    Q. I -- I can -- as -- as a nonbuilder, I can
  16    A. I owned it jointly with my brothers.       16 accept that as a renovation. Someone who is --
  17    Q. Okay. And so when you sold the property, 17 might be more technical than I am could do that
  18 you -- all -- all the siblings have to agree to  18 otherwise, but I'm not the person to contradict
  19 sell the home?                                   19 you on that.
  20    A. Absolutely.                                20       How much was -- do you remember how much
  21    Q. Do you remember how much you sold that 21 you paid to do the renovations related to the HEPA
  22 property for?                                    22 filter?
  23    A. No. I do not remember.                     23    A. Do I know the exact number? No. But it
  24    Q. From the time that you purchased the home 24 was anywhere between three to $5,000, if I
  25 affected by Chinese drywall to the time that you 25 remember correctly.


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   1    Q. Are you asking for damages in this case         1 people won't be able to see it.
   2 related to the payments you made to do renovations    2       Now -- I won't go line by line here. Do
   3 for the HEPA filter?                                  3 you remember looking at these documents and having
   4    A. Yes.                                            4 it refresh your memory? Do you remember the total
   5    Q. Okay. Do you remember if you've produced        5 amount you paid for upgrades, the amount?
   6 receipts for the HEPA filter --                       6       MS. BECNEL:
   7    A. Yes.                                            7          Sorry.
   8    Q. -- renovations?                                 8       MR. BARRY:
   9       Did you ever consider doing any work            9          I -- I wouldn't blame you. But . . .
  10 related to removing Chinese drywall from the         10       MS. BECNEL:
  11 house?                                               11          No.
  12    A. No.                                            12       THE WITNESS:
  13    Q. Why not?                                       13          Total, yeah. I mean, I don't -- I see
  14    A. At the time, when it was discovered, it        14       a total here of $3,850.
  15 was -- we did not know if it was organic or          15 BY MR. BARRY:
  16 inorganic; so we didn't know if it was going to      16     Q. Sorry. Does it say $3,910?
  17 stay in the house, was it going to have to be torn   17     A. Yes, it does. Excuse me. That's the
  18 down. It was too many unknowns. And I had just       18 total invoiced amount, was $3,910.
  19 dealt with Katrina. And I just made the decision     19     Q. Do you remember if there were any other
  20 to sell and get -- and move out.                     20 upgrades that wouldn't be reflected here?
  21    Q. Did you -- when you purchased the home,        21     A. Just the HEPA filter --
  22 did you make any upgrades to the home? I know --     22     Q. Okay.
  23    A. Yes.                                           23     A. -- what -- oh.
  24    Q. -- you said it was a new home.                 24     Q. And this is a little confusing here; so
  25       What upgrades did you make?                    25 I'm not --

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   1    A. I took some space and made an extra          1    A. I don't know if they have the foam
   2 closet, and I added, like, alarm system, a         2 insulation on here. Did they? Because I did
   3 surround sound.                                    3 foaming --
   4    Q. Do you remember how much those cost?         4      MS. BECNEL:
   5    A. No.                                          5         I saw it on there. It was --
   6    Q. Okay. I'm going to hand you a document       6      THE WITNESS:
   7 that will help you remember. The document that is  7         Okay.
   8 marked Exhibit 5 is a document labeled "Chinchuba 8       MS. BECNEL:
   9 Creek Gardenhomes Upgrades."                       9         -- 5500, I think.
  10      (Exhibit No. 5 was marked for                10      THE WITNESS:
  11      identification and attached hereto.)         11         Okay.
  12 BY MR. BARRY:                                     12      MS. BECNEL:
  13    Q. Miss Haindel, do you recognize this         13         Yeah.
  14 document?                                         14      THE WITNESS:
  15    A. Yes.                                        15         Then yes.
  16    Q. Do you want to take a chance -- or a        16      MR. BARRY:
  17 second to look at it.                             17         5500?
  18    A. Okay.                                       18      MS. BECNEL:
  19    Q. Now, what is this document?                 19         It was energy efficient home, spray
  20    A. Chinchuba Creek Gardenhomes upgrades.       20      foam insulation. It's the last draw on
  21    Q. So are these invoices from the upgrades     21      the first page.
  22 you made to the home?                             22      MR. BARRY:
  23    A. Yes.                                        23         I see it there.
  24    Q. I know I ask some dumb questions, but I     24      THE WITNESS:
  25 got to make sure it's clear on the record since   25         Okay.
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   1 BY MR. BARRY:                                         1    A. Not that I can remember.
   2    Q. So beyond the amounts that are listed on        2    Q. Okay. How did you pay for the upgrades on
   3 these -- so we've got a star here saying family       3 the home?
   4 room, $3,591.90 on Page 1; dining room, 1,100 --      4    A. Cash.
   5 1,580.44; the Jacuzzi tub, $2500; alarm trim, 425;    5    Q. Okay. You didn't finance any of that?
   6 upgrade mantle faux finish, 750; energy efficient     6    A. No.
   7 home, $5,512. And then we've got the upgrade          7       Does wood blinds have anything to do with
   8 amounts here that look to equal out to 3910.          8 that, like, window treatments?
   9       Is that the total amount -- and I'm not         9    Q. How -- are -- are you -- how much did you
  10 going to do the math, because I'll -- I'll add       10 pay for wood blinds?
  11 that incorrectly. Is that the total amount of        11    A. I don't remember.
  12 upgrades, as you recall? Are those the upgrades?     12    Q. Do you have receipts for how much you
  13       MR. CHRISTINA:                                 13 paid --
  14          I'm going to object. I think they're        14    A. No. That's what I'm --
  15       two different bills.                           15    Q. -- for wood blinds?
  16       MR. BARRY:                                     16    A. -- saying. I don't -- I don't remember.
  17          There's two different bills here?           17 I don't know if I'm supposed to say that or not.
  18       THE WITNESS:                                   18 So anyway . . . No.
  19          Yes.                                        19    Q. Well, you -- you're welcome to say
  20       MR. BARRY:                                     20 whatever you want to say. I'm not supposed to
  21          Right.                                      21 tell you whether --
  22       MR. CHRISTINA:                                 22    A. No. No. No. I know. Okay. Let's
  23          So --                                       23 just . . .
  24       MR. BARRY:                                     24    Q. Are you asking for damages for the
  25          I understand it's not totally $3,910.       25 payment -- for -- for the amount that you paid

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   1       MR. CHRISTINA:                                for --
                                                           1
   2         Okay.                                     2    A. Yes.
   3       MR. BARRY:                                  3    Q. -- the wood blinds?
   4         So --                                     4    A. Oh, no. I don't -- I don't think that's
   5       MR. CHRISTINA:                              5 included. I don't remember.
   6         It was just -- you were asking if the     6    Q. Okay.
   7       invoice total was 3,910.                    7    A. Okay.
   8       MR. BARRY:                                  8    Q. Are -- are you asking for damages for the
   9         And we've been corrected on that.         9 amount you paid in upgrades?
  10       MR. CHRISTINA:                             10    A. Yes.
  11         Okay.                                    11    Q. Now, this is going to be a very dumb
  12 BY MR. BARRY:                                    12 question.
  13    Q. So I'm asking if these are the total       13       Looking through these upgrades, were there
  14 amounts you paid for upgrades on this home?      14 any upgrades that you were able to bring with you
  15    A. Yes.                                       15 to your next home?
  16    Q. Okay. And -- and recognizing that we're 16 A. No.
  17 not adding all these numbers together, but --    17    Q. So they all needed to stay at the home?
  18    A. Right.                                     18    A. Yes.
  19    Q. -- those numbers I read off were all       19       MR. BARRY:
  20 individual amounts that you paid for upgrades on 20          Okay. If you would hand me Tab 6,
  21 this home?                                       21       please.
  22    A. Yes.                                       22 BY MR. BARRY:
  23    Q. And other than the HEPA filter, was there 23 Q. Now, when did you learn that there was
  24 anything else that you paid for for upgrades on  24 Chinese drywall in the home?
  25 the home?                                        25    A. 2009, 2008, whatever that was. I don't

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   1 remember the exact date. It was Mardi Gras. I         1 hot water heater was, it was kind of like the same
   2 know that.                                            2 thing. So it was -- there was no Sheetrock on the
   3       MR. BARRY:                                      3 walls. It was just . . . So they went ahead and
   4          Let's actually hold that for a little        4 they went in and they finished it. They put
   5       bit.                                            5 Sheetrock, hung -- you know, floated, skimmed. It
   6       MS. MANUPIPATPONG:                              6 was a room.
   7          Okay.                                        7    Q. So it was --
   8 BY MR. BARRY:                                         8    A. Carpet.
   9    Q. And how did you learn that Chinese drywall      9    Q. -- an unfinished attic that you turned
  10 was in the home?                                     10 into some --
  11    A. I was laying in bed sick. Danny Becnel         11    A. Yes.
  12 did a special on the news and said, If your house    12    Q. -- sort of closet? Okay.
  13 does this, that, or the other thing, talking about   13    A. Yes.
  14 the pipes going black and things like this, you      14    Q. I'm handing you a document which is
  15 have -- you might have it. So I'm laying in bed      15 Exhibit 6, and it says "Chinchuba Creek
  16 sick. And I'm fortunate that I have a closet that    16 Gardenhomes," and it looks like it's listing the
  17 you walk into, and that is where my hot water is.    17 different --
  18 I walked in, and there they were. All my copper      18    A. Square footage.
  19 pipes were black. And that's how I discovered it.    19    Q. -- model plans they have.
  20 And shortly thereafter I called Becnel Law Firm.     20      (Exhibit No. 6 was marked for
  21    Q. And how -- how soon after did you call         21      identification and attached hereto.)
  22 that --                                              22 BY MR. BARRY:
  23    A. Twenty-four hours. I would have called         23    Q. Have you seen this document before?
  24 Becket that day, but it was Mardi -- I think it      24    A. Yes.
  25 was like right after Mardi Gras, around that time;   25    Q. And I'm only going to be asking about
                                               Page 55                                                 Page 57
   1 so it was the next morning.                          Page 1 here; so --
                                                           1
   2    Q. Taking a step back, do you know the square 2      A. Okay.
   3 footage of your house?                             3    Q. -- you're welcome to look through it, but
   4    A. It was somewhere between 16 -- 1700 or       4 I'm not going to be asking you about something
   5 1800 and 2000. I -- I really don't know the exact  5 after that.
   6 number.                                            6       Did you -- what -- which of these model
   7       MR. BARRY:                                   7 plans did you select?
   8         Why don't you hand me Tab 9.               8    A. I believe it's E.
   9 BY MR. BARRY:                                      9    Q. And that lists a square footage of 2161,
  10    Q. How many bedrooms are in the house?         10 and 1663.
  11    A. Three bedrooms.                             11       1663, although it's not listed here, would
  12    Q. How many bathrooms?                         12 be the under-air square footage?
  13    A. Two-and-a-half baths.                       13    A. Uh-huh.
  14    Q. Did you ever make any kind of expansion on  14    Q. Do you recall 1663 being the square
  15 the home, anything that would add to the square   15 footage of your home?
  16 footage of the home?                              16    A. Uh-huh.
  17    A. Yeah. The closet upstairs on the second     17    Q. Do you have any reason to believe that
  18 floor.                                            18 that number is incorrect?
  19    Q. And what was that that you -- what did you 19     A. When you add the closet --
  20 do with the closet upstairs?                      20    Q. Do you --
  21    A. Used it as a closet, stored things.         21    A. -- it adds square footage.
  22    Q. So explain to me what was the change that   22    Q. Do you remember how much that added?
  23 you made.                                         23    A. I do not. I do not.
  24    A. It was just a dead -- it was just an --     24    Q. Do you know if you've produced any record
  25 where the -- similar to the -- where the -- the   25 that shows the amount of the square footage in the


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   1 home --                                               1    THE   WITNESS:
   2    A. I --                                          2         Okay.
   3    Q. -- after the addition of the closet?          3      (Brief recess was taken.)
   4    A. I do not remember.                            4 BY MR. BARRY:
   5    Q. Would it -- do you remember -- let's see.     5    Q. Now, you purchased the home -- I'm
   6    A. Here. It's right here.                        6 reminding   myself -- you purchased the home, and it
   7    Q. Yeah. I was -- I was going to that.           7 was a new construction; that's correct?
   8       So if we look at the -- the -- the page       8    A. That's correct.
   9 that says "Driskill Environmental Consultants,      9    Q. So was Chinese drywall installed in the
  10 LLC," "Confidential Inspection Report" --          10 house when you purchased it as a new construction?
  11    A. Well, I wasn't -- okay.                      11    A. Yes.
  12    Q. -- does that -- where it says "Approximate   12    Q. Okay. Did you have any involvement in
  13 Sq. Ft.," 1700, is that reflecting the addition of 13 selecting the drywall that would --
  14 the closet?                                        14    A. No.
  15    A. I don't know. It should. Yes. It             15    Q. -- be installed in the house?
  16 should. But I -- he -- that was an estimate.       16    A. No.
  17    Q. Okay.                                        17    Q. When the house was being built, were you
  18    A. Because you can see. It's six-by -- I        18 aware that they were installing Chinese drywall in
  19 don't know how long it was. Because it's written 19 the house?
  20 on the -- on the plans.                            20    A. No.
  21    Q. So does it --                                21    Q. Did you ever see the drywall before it was
  22    A. See? It says "attic."                        22 installed?
  23    Q. Perhaps my eyes are not reading it.          23    A. No.
  24       Where -- where do you see where it says -- 24 Q. How do you know that the drywall in the
  25    A. Okay. Do you see this right here? And        25 house is Chinese drywall?

                                                Page 59                                                Page 61
   1 then it says, right here, "attic."                    1    A. Because it said it.
   2    Q. Uh-huh.                                         2    Q. Okay. Did you ever have an inspection --
   3    A. That's a room.                                  3    A. Yes.
   4    Q. Okay.                                           4    Q. -- done?
   5    A. That was enclosed. Across the hall, you         5    A. Yes.
   6 see -- is where -- if you walk straight across,       6      MR. BARRY:
   7 where the door opens is where the hot water heater    7         Hand me Tab -- Tab 11.
   8 was.                                                  8         Seven. Thank you.
   9    Q. And so do you -- do you know how much           9      MR. CHRISTINA:
  10 square footage that added to the home?               10         Sorry.
  11    A. No.                                            11      (Exhibit No. 7 was marked for
  12    Q. Okay. So it's not listed here, where --        12      identification and attached hereto.)
  13    A. No.                                            13 BY MR. BARRY:
  14    Q. -- it says -- okay.                            14    Q. I'm handing you a document which is
  15       So it -- the original purchase of the          15 Exhibit 7, which is an assortment of various
  16 home, it was 1,663, and then the renovation of the   16 pictures. And it's labeled "Mary Haindel
  17 attic added some amount?                             17 1224 Magnolia Alley Mandeville, LA."
  18    A. Yes.                                           18    A. Yes.
  19    Q. But we're not sure on that amount right        19    Q. Do you recognize this document?
  20 now?                                                 20    A. Yes.
  21    A. Yes.                                           21    Q. What is it?
  22       MR. BARRY:                                     22    A. It's a picture of my closet where the hot
  23          Okay. Let's take a little bit of a          23 water heater is and the HEPA filter. I guess you
  24       break. I think this is a good breaking         24 could call it a utility closet.
  25       point for us.                                  25    Q. And -- and where was this closet in the

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   1 house?                                             1    A. No.
   2    A. In the house, on the second floor.           2    Q. Did you ever have to repair any devices or
   3    Q. And looking through all these pictures,      3 -- in -- in the home because of Chinese drywall,
   4 are they all from that same closet?                4 appliances? I apologize. Let me rephrase that
   5    A. Yes.                                         5 because that was really poorly asked.
   6    Q. Do you know who took these pictures?         6       Did you ever have to make any repairs to
   7    A. I don't know.                                7 appliances because of Chinese drywall?
   8    Q. What -- did you take these pictures?         8    A. I don't remember.
   9    A. I could have.                                9    Q. Did you ever have to make any repairs to
  10    Q. Okay.                                       10 the HVAC system?
  11    A. I took many pictures, but other people      11    A. Yes.
  12 could have taken them. I mean -- but yeah.        12       MR. BARRY:
  13    Q. And looking at these pictures, what --      13           Do you mind pulling the invoices
  14 what do they show?                                14       there. I don't know which tab that is.
  15    A. They show the pipes are black.              15       It's 12?
  16    Q. And when you say "black," what do you       16       MS. MANUPIPATPONG:
  17 mean?                                             17           Twelve.
  18    A. They're copper pipes. So they're copper     18       MR. BARRY:
  19 -- my -- you know, they're brand new copper pipes 19           I'll hand your counsel a document.
  20 that are completely black.                        20 BY MR. BARRY:
  21    Q. Okay. And what do you attribute the         21    Q. So this is Exhibit 8, which is a set of
  22 reasons for why they were black?                  22 invoices from Champagne, Inc., Electric, Heating &
  23    A. From the gassing from the toxic Chinese     23 Cooling.
  24 drywall.                                          24       (Exhibit No. 8 was marked for
  25    Q. Now, if you turn to the third-to-last page  25       identification and attached hereto.)
                                              Page 63                                               Page 65
   1 here, it's the one with the insulation. This       1  BY MR. BARRY:
   2 is the --                                           2    Q. Do you recognize this document?
   3    A. Yeah. I'm looking at it.                      3    A. Yes.
   4    Q. The label says "Made in China. Meets or       4    Q. What is it?
   5 exceeds."                                           5    A. These are bills I paid or invoices that I
   6       So is that -- is that part of your basis      6 paid to --
   7 for why there -- you know there's Chinese drywall   7    Q. And these are invoices you paid for -- for
   8 in the house?                                       8 what?
   9    A. That's part of my basis. Yes.                 9    A. For repairs to the house while it had
  10    Q. Do you know if Chinese drywall was           10 Chinese drywall.
  11 installed throughout the home?                     11    Q. And were these repairs related to damage
  12    A. Yes.                                         12 that you believe was caused by Chinese drywall?
  13    Q. Do you know if there's any areas of the      13    A. Yes.
  14 home that -- that did not have Chinese drywall?    14    Q. Do you know if there were any other
  15    A. Not to my knowledge.                         15 invoices for air-conditioning repairs?
  16    Q. Do you know who installed the drywall?       16    A. I mean, I don't know. I don't remember.
  17    A. The developer.                               17 But there were two sets of coils that were
  18    Q. And who was that developer? Do you           18 replaced. But I -- I don't remember. And a
  19 remember the name?                                 19 recharge at one point.
  20    A. Lee -- Lee Laporte.                          20    Q. Now, just looking through this -- and
  21    Q. Okay. Did that developer tell you they       21 maybe I'm misunderstanding -- are some of these
  22 were going to install Chinese drywall in the home? 22 invoices duplicated in this set here? Maybe
  23    A. No.                                          23 I'm --
  24    Q. Did they make any guarantees about the       24    A. I don't know.
  25 products they were using in the home?              25    Q. See, here, the first one says -- the first

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   1 two pages are dated April 4th, 2008. And there's      1  Q. Understand.
   2 one for 1,643.25. And then there's one for 3,466. 2         Did you have to make any other repairs to
   3    A. No. I think -- they're not double. No.        3 any other appliances?
   4 They're not -- I don't -- to my knowledge, I don't  4    A. I don't remember.
   5 think they're --                                    5    Q. Did you have to make any repairs to a
   6    Q. Sorry. Let -- let --                          6 refrigerator?
   7    A. -- duplicates.                                7    A. I -- I -- I don't remember.
   8    Q. Let me finish. I apologize.                   8    Q. All right. Did you have to make any
   9    A. Okay.                                         9 repairs to a television or anything like that?
  10    Q. So that first page we've -- we've said is    10    A. I don't remember. I -- I'm sorry to say I
  11 4408. Now, if we turn to Page 1, 2, 3, 4, 5 --     11 don't remember.
  12 Page 6 and 7 on -- in this right here.             12    Q. Do you know if you submitted any --
  13    A. Yes.                                         13    A. I know was I left.
  14    Q. Are those the same invoices?                 14    Q. I understand. And -- and I -- I -- I
  15    A. I don't know if they're the same, but they   15 appreciate that a lot of this is a long time ago.
  16 were put together.                                 16 I'm still going to have to ask the questions, of
  17    Q. Are -- are they the same invoices as the     17 course.
  18 ones that appear on Page 1 and 2?                  18       Do you know if you made any -- do you know
  19    A. Oh. Let me see.                              19 -- were  any appliances in your home that you could
  20    Q. So are Pages 6 and 7 identical to            20 have taken with you, such as a TV -- after you
  21 Pages 1 and 2?                                     21 left the home, were any of those appliances
  22    A. Oh. Yes.                                     22 damaged because of Chinese drywall?
  23    Q. Okay. So there are -- there are some         23    A. Yes.
  24 documents in here that are duplicates; right?      24    Q. Are you seeking compensation for those
  25    A. Yes.                                         25 damaged --
                                               Page 67                                                 Page 69
   1     Q. Okay. Are there any other invoices for         1    A. I -- I don't --
   2 air-conditioning repairs that were made?              2    Q. -- items?
   3     A. I don't remember. I -- I -- I mean, like       3    A. I don't know. I don't think so.
   4 I said, I know they redid the coils. And I think      4    Q. Okay. Did you have homeowners
   5 the developer might have picked it up once. And       5 insurance --
   6 then I -- I -- I think part of this is a bill for     6    A. Yes.
   7 one of them, a recharge, if I remember correctly.     7    Q. -- on the house?
   8 It's hard to read.                                    8      Who -- who was your home- -- homeowners
   9     Q. Yes. Of course.                                9 insurer?
  10     A. And -- so . . .                               10    A. I don't remember. But if I guessed, it
  11     Q. Did you personally pay -- other than the      11 was State Farm.
  12 one that the developer may have picked up, did you   12    Q. Okay. Did you make any claim to
  13 personally pay for all --                            13 State Farm for damages related to Chinese drywall?
  14     A. Yes.                                          14    A. No.
  15     Q. -- of the other air-conditioning repairs?     15    Q. Okay. Why not?
  16     A. Yes.                                          16    A. Because I was aware of a clause in the --
  17     Q. Are you seeking damages for the amount of     17 the insurance. It says pollution exclusion.
  18 air-conditioning repairs that you had to pay         18    Q. And you understood that the pollution
  19 related --                                           19 exclusion would prevent you from being able to
  20     A. Yes.                                          20 make a successful claim to State Farm?
  21     Q. -- to Chinese drywall?                        21    A. Yeah. And then you run the risk if --
  22       And do you know the total amount that          22 they might drop me as well. Then I would have no
  23 you're asking for related to air-conditioning        23 insurance.
  24 repairs?                                             24    Q. Did you ever sue the developer for
  25     A. I don't remember.                             25 installing Chinese drywall?


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   1    A. No.                                            1     Q. And --
   2    Q. Why not?                                       2     A. -- sulfur.
   3    A. That's a good question. I don't know.          3     Q. How -- how soon after you purchased the
   4    Q. Do you know if any of your neighbors had       4 home and moved in did you start noticing that
   5 Chinese drywall installed in their house?            5 smell?
   6    A. Yes.                                           6     A. I noticed it from the beginning, but we
   7    Q. How do you know that?                          7 just thought it was possibly new construction,
   8    A. Because we all talked about it. All the        8 maybe the new carpet. I, not we. I. And I
   9 houses had symptoms.                                 9 just -- and I -- I was coming and going a lot.
  10    Q. Okay. And so -- do you remember roughly       10 So . . .
  11 how many homes there were in the neighborhood?      11     Q. And was -- did it -- did that smell ever
  12    A. Uh-uh.                                        12 subside?
  13    Q. Was it 10? Was it 15? Was it a hundred?       13     A. No.
  14    A. No. Maybe 40.                                 14     Q. Was there any time period where you could
  15    Q. Okay.                                         15 smell it -- it -- it -- it smelled more potent?
  16    A. Well, I was 45. So at least 45.               16     A. Yes. It started to get more and more
  17    Q. Okay. And it's the best of your               17 pronounced --
  18 recollection that almost all those homes, if not    18     Q. Okay.
  19 all of them, had Chinese drywall in them?           19     A. -- as time went on.
  20    A. I don't know about all, but most.             20     Q. And how -- how soon after would that be?
  21    Q. Do you know if your -- any of your            21     A. It was there from day one. So how long?
  22 neighbors did any construction to remove the        22 It just constantly increased as I lived in it. I
  23 Chinese drywall from their house?                   23 lived in the house.
  24    A. I don't know.                                 24     Q. Was it worse during certain times of the
  25    Q. Do you know if any of your neighbors sold     25 day? Like, when -- in the morning --

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   1 their homes after learning Chinese drywall was in    1    A. Well, naturally --
   2 the house?                                           2    Q. -- was it worse?
   3    A. I don't -- I know -- I know some did and       3    A. -- when it's -- when it's hot, it --
   4 some didn't. So . . .                                4    Q. Okay.
   5    Q. Do you recall how much they were selling       5    A. -- it would be worse.
   6 the homes for?                                       6    Q. So would it be worse in the summer versus
   7    A. When?                                          7 the winter?
   8    Q. When they -- once they learned Chinese         8    A. No. It's bad both because you're putting
   9 drywall was in the house, do you recall how much     9 the heat on. So --
  10 they were selling the homes for?                    10    Q. Okay.
  11    A. Yeah. Anywhere from a hundred to 150,000.     11    A. -- I usually left my windows cracked.
  12    Q. Okay. So roughly about what you were --       12    Q. Was there any area of the house where it
  13    A. Yeah.                                         13 smelled worse than others?
  14    Q. -- paid for your home?                        14    A. The whole house smelled bad except for the
  15       MR. BARRY:                                    15 attic, where there was no Chinese drywall. I
  16         Let's see. Let's go to 47.                  16 noticed that. We would go up- -- I would go
  17 BY MR. BARRY:                                       17 upstairs to the attic. I'd say, God, up here
  18    Q. Now, we've talked a little bit about there    18 smells great. What happens when you go
  19 being corrosion on the wires.                       19 downstairs?
  20       Were there any other symptoms of Chinese      20    Q. So there was no Chinese drywall upstairs
  21 drywall within the home? For example, was there     21 in the attic?
  22 an odor in the home?                                22    A. There was no float -- it wasn't floated
  23    A. Yes.                                          23 out. So no, there was no --
  24    Q. What was that odor?                           24    Q. Because it was unfinished? It was --
  25    A. Like a rotten egg --                          25 so --


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   1    A. Yeah. It was unfinished.                      1      MR. BARRY:
   2    Q. Okay. And I -- I know you did the            2         Oh. It's Exhibit 6.
   3 renovation where you installed that closet.        3 BY MR. BARRY:
   4      Was -- that closet, did that also have        4     Q. So turning in Exhibit 6 to the document
   5 Chinese --                                         5 that says "Driskill Environmental Consultants,"
   6    A. Yes.                                         6 and this is dated April 1st, 2008.
   7    Q. -- drywall in there? Okay.                   7       Why did you hire Driskill Environmental?
   8    A. Yeah.                                        8     A. A friend of mine came over. He used to do
   9    Q. When you had people over to your house --    9 mold remediation in New Orleans, and -- prior to
  10 I know you said you had some people stay there -- 10 Katrina and during Katrina a little bit. And he
  11 did they notice the smell?                        11 came over. And we were watching television. And
  12    A. Yes.                                        12 he said, Something's wrong here, Mary. He said,
  13    Q. What did they say?                          13 You're -- we have blue eyes. And our eyes were
  14    A. Something's in -- there's a smell in this   14 both red. The dog was panting. I had the window
  15 house, Mary --                                    15 cracked. He said, Something's just wrong in here,
  16    Q. Okay.                                       16 I just don't know what it is. He knew it wasn't
  17    A. -- something's wrong.                       17 mold. He said, Listen, call -- call this guy up,
  18      My eyes would turn red.                      18 Driskill, whoever he is. And he said, Have him
  19    Q. So you said you learned of Chinese drywall 19 come over and do an inspection on the house,
  20 from an interview from the -- with the Becnel Law 20 because I -- I don't know what it -- this is. And
  21 Firm --                                           21 that's what I did, and that's the date that I did
  22    A. Uh-huh.                                     22 it.
  23    Q. -- on TV?                                   23     Q. And what did Driskill Environmental
  24    A. Uh-huh.                                     24 conclude?
  25    Q. Had you heard about Chinese drywall --      25     A. You know, the usual what they look for,
                                              Page 75                                               Page 77
   1    A. No.                                           1which was -- I don't even know, to be honest with
   2    Q. -- before then?                              2 you.
   3    A. No.                                          3   Q. Is there any more to their report? Is
   4    Q. Had you suspected there was something        4 there any more document --
   5 wrong with your home before you --                 5   A. I don't -- I don't -- not that I can
   6    A. No.                                          6 remember.
   7    Q. So you just -- you --                        7   Q. Did you pay Driskill --
   8    A. Didn't put two and two together. No.         8   A. Yes.
   9 I --                                               9   Q. -- Consultants? Okay.
  10    Q. Okay.                                       10   A. Yeah.
  11    A. -- didn't dream. Well, I mean, let me say   11   Q. Do you remember how much you paid them?
  12 this: At one point we knew it was something. We 12     A. No.
  13 just didn't know what. Because that's why I hired 13   Q. The next document here, where it says "The
  14 -- I can't think of the -- Driskill. That's why I 14 Law Offices of Daniel Becnel," do you -- was that
  15 hired him, because we kept saying, something's    15 connected to the Driskill Environmental report, or
  16 wrong with the house. But nobody could figure it 16 is this a --
  17 out. It wasn't formaldehyde. It wasn't mold. I    17   A. No. They're --
  18 mean, that's what people -- that's what they're   18   Q. -- separate document?
  19 looking for at the time.                          19   A. -- not connected.
  20    Q. It's like you could read my mind, because   20   Q. Okay.
  21 that's about what I was going to ask.             21   A. They -- they're separate.
  22       MR. BARRY:                                  22   Q. Did Driskill Environmental conclude that
  23          Do you mind handing me Tab 9.            23 you had Chinese drywall in the house?
  24       MS. MANUPIPATPONG:                          24   A. No, he didn't.
  25          It's Exhibit 6.                          25   Q. Okay.

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   1    A. No, he didn't.                                  1A. Well, yes. With Driskill, I did. I don't
   2    Q. Did they test the drywall? Did they take    2 remember if I spoke to Kaltofen.
   3 any samples?                                      3    Q. Do you know if anyone -- I know Boston
   4    A. No.                                         4 Chemical took some samples from your home.
   5    Q. Okay. So this next document that says       5       Do you know where those samples are?
   6 "The Law" Office "of Daniel Becnel," was this an  6    A. No.
   7 inspection that -- looking for Chinese drywall?   7    Q. Did the presence of Chinese drywall in
   8    A. No. Well, that was once we knew it was      8 your home limit your usage of the property?
   9 there. And they took a piece of it, and he        9    A. I couldn't live in it. So yes.
  10 sampled it and ran tests on it.                  10    Q. Was there -- other than having to move
  11    Q. And who was it that sampled it?            11 out, was there any other limitations that were
  12    A. Mr. Kaltofen.                              12 created because of Chinese drywall being in the
  13    Q. And he's from Boston Chemical Data Corp.? 13 home?
  14    A. (Shrugs.)                                  14    A. I was sick.
  15    Q. Did you pay for him to come in and inspect 15    Q. And -- and what were the symptoms of being
  16 and take a sample?                               16 sick?
  17    A. No.                                        17    A. Upper respiratory and a slight rash on my
  18    Q. Do you know who paid for it?               18 body.
  19    A. No.                                        19    Q. Did you go to the doctor for those medical
  20    Q. Okay. Did you have any other inspections   20 ailments?
  21 other than from Boston Chemical Data Corp. and   21    A. Yeah. The upper respiratory, I did.
  22 from Driskill Environmental?                     22    Q. Did they provide any treatment to you for
  23    A. To my knowledge, that's it.                23 that?
  24    Q. Okay. Were you at home when either of      24    A. There was no fever; so take the flu --
  25 these inspections were conducted?                25 like you have the flu.

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   1    A. Yes.                                            1    Q. Beyond the medical ailments and having to
   2    Q. Now, you said you're self-employed.             2 move out of the house, was there any other
   3       Do you typically work at home?                  3 limitation of your usage of the home? Were you
   4    A. Yes.                                            4 not able to work in the home? Were you not able
   5    Q. Do you have clients who come to your house      5 to --
   6 and drop off their --                                 6    A. It --
   7    A. No.                                             7    Q. -- have guests over or anything like that?
   8    Q. -- items?                                       8    A. That's prior to -- to diagnosing the
   9       So how do you -- when you're making a --        9 house?
  10 when you're assessing a gem, how do you --           10    Q. Uh-huh. Or at any time when you were
  11    A. I have a portable lab.                         11 living in the home.
  12    Q. Okay.                                          12    A. What's the question?
  13    A. So my lab goes with me. I go to their          13    Q. At any time when you were living in the
  14 house. Because the reason why I started doing        14 home, other than what we've talked about, other
  15 that was -- typically people don't want to leave     15 than having to move out, other than medical
  16 their jewelry with strangers, not even the stores.   16 ailments that you attribute to Chinese drywall,
  17 And it was just a service that I thought, you        17 was there any other limitation on your usage of
  18 know, would be nice.                                 18 the home?
  19    Q. Makes sense.                                   19    A. No.
  20    A. So that's what I do.                           20    Q. No.
  21    Q. And -- and when you're saying "a portable      21       Are you seeking any monetary payment for
  22 lab," is it a fan or something like that?            22 any limitations of your usage of the home?
  23    A. No. Microscope and gem instruments.            23    A. Yeah. I don't understand the question.
  24    Q. Did you ever have any conversations with       24    Q. We'll -- we'll come back to that in a
  25 any of these -- either of these inspections?         25 second.


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   1       Did you incur any expenses for the medical           1       identification and attached hereto.)
   2 -- treating the medical ailments you had --                2 BY MR. BARRY:
   3    A. No.                                                  3    Q. I handed you what is Exhibit 9, which is a
   4    Q. Are you seeking payment for any of your              4 residential lease dated April 1, 2009 for a
   5 personal injury or medical conditions in this              5 property at 38 Sanctuary Boulevard.
   6 lawsuit?                                                   6       Is this the lease for the family home?
   7    A. Not to my knowledge.                                 7    A. Yes.
   8    Q. How long did you live in your house after            8    Q. And in Paragraph 1 it lists the rent
   9 you suspected the house contained Chinese drywall?         9 payment of $3,000.
  10    A. Two weeks.                                          10       Was that the rent payment that you
  11    Q. Two weeks.                                          11 promised to pay?
  12       So you moved out --                                 12    A. Yes.
  13    A. Maybe.                                              13    Q. Did -- and -- and to this date, you've not
  14    Q. -- almost immediately afterwards?                   14 made those rent payments to your brothers; is that
  15    A. Immediately.                                        15 correct?
  16       My brother said, If the -- if the drywall           16    A. No.
  17 is eating copper, what's it doing to you and your         17    Q. When you sold -- I -- I recall you saying
  18 dogs' lungs? That's how I ended up in the house.          18 that you sold the house roughly in 2012, 2013?
  19 It was his suggestion to go. He goes, You cannot          19    A. Yeah.
  20 live there, You got to go.                                20    Q. Do you remember how much you sold that
  21    Q. And you were able to move out in part               21 house for?
  22 because you had the family home that you were able        22    A. No. No.
  23 to move into?                                             23    Q. Knowing that you don't remember the price
  24    A. Uh-huh.                                             24 that for -- you sold the house for, was -- when
  25    Q. And to clarify, you lived in that home for          25 you made the sale, was that -- the sale price

                                                   Page 83                                                  Page 85
   1 -- and I know we've talked about this -- for about    equally distributed between you and your brothers?
                                                                1
   2 two or three years afterwards -- is that            2   A. Yes.
   3 correct -- roughly?                                 3   Q. Did your brothers subtract any unpaid rent
   4    A. Two years. Yeah. Yeah. I don't know.          4 payments from --
   5    Q. And during that time period, you -- you       5   A. No.
   6 didn't pay rent on that home? You were ultimately   6   Q. -- you -- the amount you received?
   7 owing rent at some point --                         7   A. No.
   8    A. Yes.                                          8   Q. So you received the full amount that --
   9    Q. -- but you were not actively paying rent      9   A. Yes.
  10 at --                                              10   Q. -- that you were owed? Okay.
  11    A. No.                                          11      At some point you stopped paying on the
  12    Q. -- that point?                               12 mortgage for the home that was affected by Chinese
  13       Did -- did you look at any other places to   13 drywall; is that correct?
  14 live, or did you just decide you were going to go  14   A. Yes.
  15 live in the family home? Did you -- you know,      15   Q. I know you don't remember the exact date
  16 were you looking at other places that you might be 16 on which you --
  17 able to live? Did you look at other apartments or  17   A. Right.
  18 anything else?                                     18   Q. -- stopped making those payments.
  19    A. No.                                          19      Do you remember if -- if the time period
  20       MR. BARRY:                                   20 you stopped making those payments was when you
  21          Okay. If you can hand me Tab 32.          21 were living in the family home?
  22          Eight -- nine.                            22   A. Yes.
  23       THE WITNESS:                                 23   Q. Why did you stop making payments on the
  24          Nine.                                     24 mortgage?
  25       (Exhibit No. 9 was marked for                25   A. Because the bank wouldn't talk to me. I

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   1 tried -- kept telling -- telling them I -- the --     1 your current address as 1224 Magnolia Alley, which
   2 the -- the situation, and the banks just -- no        2 is the home affected by Chinese drywall, to
   3 one had ever heard of toxic Chinese drywall. So       3 Liberty Storage.
   4 it was just -- they were just -- they thought I       4       (Exhibit No. 10 was marked for
   5 was just trying to run from the mortgage when that    5       identification and attached hereto.)
   6 wasn't the case.                                      6       THE WITNESS:
   7    Q. So you couldn't -- so you stopped making        7          Yes.
   8 payments on the home in part to get the bank's        8 BY MR. BARRY:
   9 attention? Is that what you're saying?                9    Q. What is this invoice for?
  10    A. That was part of it. Yeah. Plus it's a         10    A. Moving to a storage unit.
  11 financial hardship.                                  11    Q. And what did you move to a storage unit?
  12    Q. But at the time you were not actively          12    A. I don't remember.
  13 paying rent for any other alternative living? You    13    Q. Was it --
  14 were not --                                          14    A. Because --
  15    A. That's correct.                                15    Q. Sorry. I apologize.
  16    Q. So it wasn't as if you were paying, you        16    A. -- I can't -- I'm -- it had to be a
  17 know, double the amount to pay for a mortgage and    17 bedroom set, furniture, possibly, in the house.
  18 a rental at the same time; is that correct?          18    Q. Was it the entire contents of the house,
  19    A. Say that again.                                19 or was it just part of the contents of the house?
  20    Q. So at the time that you were -- you            20    A. It was probably the entire content- -- my
  21 stopped paying on the mortgage, you were not         21 stuff. Yeah. The contents, nothing attached.
  22 actively paying rent and a mortgage payment at       22    Q. And was that because the family home was
  23 the --                                               23 prefurnished?
  24    A. No.                                            24    A. No. No. No. No. No. I took -- we
  25    Q. -- same time?                                  25 split it. Some -- I didn't plan on being in the

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   1      At the family home, was anyone else living       1 house that long; so all I moved was a sofa to the
   2 with you there?                                       2 house and a bed.
   3   A. No.                                              3    Q. Okay.
   4      MR. BARRY:                                       4    A. Like, you know . . .
   5         Now if you'd turn to Tab 29.                  5    Q. Did you eventually move items out of
   6 BY MR. BARRY:                                         6 storage and into the family home?
   7   Q. When -- when you sold the home, did you          7    A. Probably. I don't remember.
   8 have to pay any fee for terminating the lease or      8    Q. So you moved items into storage in part
   9 anything like that? No?                               9 because you expected to move somewhere else pretty
  10   A. No.                                             10 soon thereafter and you didn't want to move
  11   Q. Were there any other fees related to the        11 everything to the family home?
  12 home? Did you have to pay any type of tax            12    A. Right.
  13 assessment or anything like that?                    13    Q. Could the family home have fit everything
  14   A. Say --                                          14 that you moved --
  15   Q. The -- the family home --                       15    A. Yes.
  16   A. No.                                             16    Q. -- into storage? Okay.
  17   Q. -- did you have to pay towards taxes or         17       Now, are you seeking payment in this
  18 anything like that?                                  18 lawsuit for the $350 you spent in moving fees?
  19   A. I don't -- I don't rem- -- honestly, I          19    A. Yes.
  20 don't remember.                                      20       MR. BARRY:
  21   Q. Okay.                                           21          Do you mind handing me Exhibit 30,
  22   A. I don't remember the closing on it.             22       Mae -- or Tab 30.
  23   Q. I'm going to hand you what is Exhibit 10,       23 BY MR. BARRY:
  24 which is an invoice from Atmosphere Movers, Inc.,    24    Q. I'm handing you what is Exhibit 11, which
  25 which is for the grand total of $350 and lists       25 is a set of invoices and a contract from


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   1 Liberty Self Storage, and it looks like the           1 period by -- for which you're seeking compensation
   2 contract here is dated 4/28/2009.                     2 for the storage fees; correct?
   3       (Exhibit No. 11 was marked for                  3    A. I think so.
   4       identification and attached hereto.)            4    Q. And do you know during that time period if
   5 BY MR. BARRY:                                         5 the storage fees were always $150 a month?
   6    Q. Was -- I -- I assume Liberty Self Storage       6    A. I believe so. I don't know.
   7 is where you stored the items from the home that      7    Q. Okay. And looking toward the end here --
   8 was affected by Chinese drywall?                      8 actually, don't even worry about that.
   9    A. Yes.                                            9       MR. BARRY:
  10    Q. And throughout the entire time that you        10         Do you mind handing me Tab 37.
  11 were living in the family home, did you pay for      11 BY MR. BARRY:
  12 self-storage at Liberty Self Storage?                12    Q. So I've handed you what is Exhibit 12,
  13    A. Yes.                                           13 which is listed "Register Report - All Dates,"
  14    Q. Do you remember when you terminated your       14 "4/1/2009 through 4/2/2013."
  15 contract with Liberty Self Storage?                  15       (Exhibit No. 12 was marked for
  16    A. No. I still have it.                           16       identification and attached hereto.)
  17    Q. You still have it.                             17 BY MR. BARRY:
  18       So you're still storing your stuff at          18    Q. Do you know what this document is?
  19 Liberty --                                           19    A. Yes.
  20    A. Yes.                                           20    Q. What is it?
  21    Q. -- Self Storage?                               21    A. It's a register report from all the bills
  22    A. Yes.                                           22 I've had during that time, what I paid in and what
  23    Q. And is it still $150 a month for               23 I was -- everything.
  24 storing --                                           24    Q. And -- and who prepared the register
  25    A. No.                                            25 report?

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   1    Q. How much is it now?                             1    A. I did.
   2    A. 250, 225, somewhere around there.               2    Q. And are these all the bills that are
   3    Q. And how much of -- given that you're still      3 related to the property affected by Chinese
   4 making payments on the self-storage and that          4 drywall, or are all these bills affect -- related
   5 started in 2009, how much of that time period, how    5 to the family home, or are these --
   6 much of that monthly self-storage fees are you        6    A. I think it's --
   7 seeking compensation for in this lawsuit?             7    Q. -- just all the bills generally?
   8    A. I don't know.                                   8    A. -- all the bills relative to the time
   9    Q. Are you seeking compensation for every          9 period that I had the house. So every -- I think
  10 month you've paid, or are you seeking only for the   10 this is all the bills. So I was paying two
  11 months --                                            11 electricity bills, paying two HOA bills.
  12    A. I think it's only the months that this all     12    Q. And so this runs until 4/2/2013; is that
  13 took place, the Chinese drywall.                     13 correct?
  14    Q. So up until the point where you sold --        14    A. Yes.
  15    A. Right.                                         15    Q. So -- and -- and we -- we -- I know I'm
  16    Q. -- the home?                                   16 sounding like a broken record here, but we spoke
  17    A. Right.                                         17 about that you sold the home affected by Chinese
  18    Q. And you sold the home roughly in 2010.         18 drywall in 2010?
  19 So --                                                19    A. Yes.
  20    A. Right.                                         20    Q. So are you seeking compensation in this
  21    Q. So April 2009 to whatever date you sold        21 lawsuit for any bills after you sold the home in
  22 the home in 2010?                                    22 2010?
  23    A. Right.                                         23    A. You know, it says --
  24    Q. I know that's not established here.            24    Q. It says twenty -- it says 2013 here.
  25       And fair to say that that's the time           25 Just --


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   1     A. It does. But the date only goes --             1    A. I waited. I waited, but I don't remember
   2     Q. But it ends 11/15 --                           2 how long I waited. It was too many unknowns; so I
   3     A. Yes.                                           3 waited. But I don't know -- I guess maybe
   4     Q. -- 2010? So --                                 4 eight months, six, seven months.
   5     A. That's correct.                                5    Q. Did you work with a real estate agent
   6     Q. -- the cutoff at which you're --               6 to --
   7     A. Yes.                                           7    A. Yes.
   8     Q. So even though it's listing 2013, you're       8    Q. -- try to sell the home?
   9 really just seeking from --                           9       Did you list the home?
  10     A. Exactly.                                      10    A. Yes.
  11     Q. -- until 11/15/2010?                          11    Q. And do you remember how much you listed
  12     A. Yeah.                                         12 the home for originally?
  13     Q. Now, this is going to be both painful but     13    A. No.
  14 also not painful. I don't want to have to go         14    Q. Did the real estate agent tell you
  15 through all these receipts with you.                 15 anything about your prospects of being able to
  16       Do you mind just looking through here and      16 sell the home because Chinese drywall was in the
  17 letting me know if you know if there's any           17 house?
  18 receipts here that are missing or if there's any     18    A. Say it again.
  19 receipts here that you are -- as in "missing," you   19    Q. Did your real estate agent tell you
  20 are also seeking compensation for something that     20 anything about the likelihood that you'd be able
  21 is not included in this packet, or alternatively,    21 to sell the house given that there was Chinese
  22 if there's anything in here that is here by error    22 drywall in the house?
  23 and you're not seeking compensation for. And take    23    A. No. We -- no.
  24 as much time looking through it as possible. And     24    Q. Now, how long do you remember -- how long
  25 I know that's painful, but it's easier than going    25 did you have to list the home before it was sold?

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   1 through it one by one.                                1    A. I don't remember, but it -- it -- I -- I
   2    A. No. No.                                         2 remember thinking it was -- it was -- the whole
   3       MR. BARRY:                                      3 process took almost a year.
   4          I apologize. I'm going to have to            4    Q. Okay. And -- so do you recall
   5       take a quick break off the record after         5 approximately when you originally put up the
   6       you answer this.                                6 listing of the house?
   7 BY MR. BARRY:                                         7    A. I want to -- I don't know why September
   8    Q. So you don't see anything missing in this,      8 sounds familiar.
   9 nothing that shouldn't be in there --                 9    Q. Of 2009?
  10    A. To my knowledge, I don't.                      10    A. Yeah. That -- that sounds familiar.
  11    Q. Okay. And you've taken some time to look       11    Q. I know you said you had one sale fall
  12 through it, of course?                               12 through.
  13    A. Uh-huh.                                        13       Did you have any prior offers other than
  14    Q. Yes? Have you --                               14 the -- the offer that fell through?
  15    A. Yes.                                           15    A. I don't remember.
  16       MR. BARRY:                                     16    Q. And earlier you said you weren't aware of
  17          Okay. I'm going to take a quick break       17 anywhere other -- the price of other property
  18       just to grab a tissue, because I'm             18 sales in your neighborhood or anything like that?
  19       struggling here with my cold.                  19    A. What do you mean?
  20       (Brief recess was taken.)                      20    Q. You weren't aware of how much -- or --
  21 BY MR. BARRY:                                        21 sorry. I -- you actually didn't. Never mind.
  22    Q. So you moved out two weeks after you           22 Scratch that question.
  23 learned there was Chinese drywall in the house.      23       MR. BARRY:
  24       How soon after there -- that did you try       24          Let's take 25. Twenty-five.
  25 to sell the home?                                    25       MS. MANUPIPATPONG:

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   1          Oh.                                          1 Section VI? It's a little difficult --
   2 BY MR. BARRY:                                         2    A. It's on the --
   3    Q. I put in front of you Exhibit 13, which is      3    Q. -- to read.
   4 the profile form that you prepared -- or the          4    A. -- back -- it's on the --
   5 plaintiff profile form that was prepared in --        5    Q. Yeah. On --
   6 related to this litigation produced to us.            6    A. -- back page?
   7       (Exhibit No. 13 was marked for                  7    Q. -- the second page.
   8       identification and attached hereto.)            8    A. I don't even see the question.
   9       MR. BARRY:                                      9       THE WITNESS:
  10          I'm also representing for the record        10          You see Section VI?
  11       that attached to this profile form was         11       MR. CHRISTINA:
  12       your homeowners insurance policy, which I      12          (Indicating.)
  13       think you said earlier was in the -- with      13       THE WITNESS:
  14       State Farm; the purchase agreement for the     14          Oh, okay. Oh, I don't know. It's all
  15       property, and an addendum to the purchase      15       -- I can't read that.
  16       agreement, which includes any type of          16 BY MR. BARRY:
  17       upgrades. We're not really going to talk       17    Q. And if we look at Section -- so here, you
  18       too much about that, but I just want to        18 can't read what it says, the approximate square
  19       make sure it's on the record.                  19 foot of the house; right?
  20 BY MR. BARRY:                                        20    A. Right.
  21    Q. Do you recognize this document?                21    Q. Now, if you look at Section VIII --
  22    A. It looks familiar. But yes. Yeah.              22 earlier we talked about -- that Leroy Laporte was
  23    Q. You don't?                                     23 the person who installed Chinese drywall; is that
  24    A. Yes. I do.                                     24 correct?
  25    Q. Oh. You do. Okay.                              25    A. Yes. Yes.
                                                Page 99                                                 Page 101
   1      And if we look at Page 3 here, is that           1Q.   And   -- and his company  is Southern  Star
   2 your signature?                                   2 Construction; is that correct?
   3    A. Yes.                                        3    A. Yes.
   4    Q. And were you the person who prepared this   4    Q. When you completed this form, it was
   5 document?                                         5 March 24th, 2009? It's at least the date of your
   6    A. Yes.                                        6 signature?
   7    Q. Now, looking through this, do you see       7    A. Yes.
   8 anything here that you believe to be inaccurate?  8    Q. Was that before or after you moved out of
   9 And I'll -- and really, just -- we're looking     9 the home?
  10 through the first two --                         10    A. I think that's after I moved out. I'm not
  11    A. Well, it --                                11 a hundred percent sure. Because when I moved out,
  12    Q. -- two pages here.                         12 I just took a bed and left. So . . . A blow-up
  13    A. Oh. Just the first two pages?              13 bed literally. I mean, a little blow-up bed and a
  14    Q. Yeah. We're not --                         14 lamp. So I -- you know, my guess is -- is
  15    A. Okay.                                      15 probably after.
  16    Q. -- going to -- I have nothing for those    16       MR. BARRY:
  17 items.                                           17           If you can hand me 28, Mae.
  18    A. Okay. And what was your question?          18           I'm going to hand you a document.
  19    Q. Do you see anything here that's inaccurate 19       I'll hand it to your counsel first here.
  20 or that --                                       20 BY MR. BARRY:
  21    A. No.                                        21    Q. I'll represent this is Exhibit 14, which
  22    Q. And I apologize. Perhaps I'm not able to   22 is Supplemental Plaintiff Profile Form, and is
  23 read this.                                       23 signed and dated on February 11th, 2018.
  24      What does it say the approximate square     24       (Exhibit No. 14 was marked for
  25 foot of the house is here, if you look at        25       identification and attached hereto.)

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   1 BY MR. BARRY:                                         1    Q. And -- and where is that preserved?
   2    Q. Have you seen this document before,             2    A. I don't know. At home, in a box with --
   3 Miss Haindel?                                         3 with a Zip- -- what do you call it? I can't think
   4    A. It's -- it's my signature, but -- I guess       4 right now. It's in a Ziploc.
   5 so. I guess I've seen it.                             5    Q. Okay. In looking through the rest of this
   6    Q. So --                                           6 document, is there -- and -- and so at -- at your
   7    A. I don't remember it.                            7 home; is that correct?
   8    Q. On the last page, is this -- that is your       8    A. Well, it's -- yes.
   9 signature there?                                      9    Q. Okay. Now, looking through the rest of
  10    A. Yes.                                           10 this document, is there anything else you see that
  11    Q. I know I get to ask these fun questions,       11 is incorrect or incomplete?
  12 but --                                               12    A. No.
  13    A. But I -- I don't remember the document.        13    Q. No.
  14    Q. No. Totally --                                 14       Let me see. So if you look on Page 3,
  15    A. That --                                        15 just above Section III.
  16    Q. -- understand.                                 16    A. Page 3, above Section III?
  17    A. That's -- that's why I'm saying. I looked      17    Q. Yeah.
  18 at the back. I said, Well, that's my signature.      18    A. Okay.
  19 But I don't remember this.                           19    Q. Where it says you sold or transferred the
  20    Q. I feel like half the things I sign is like     20 property on 12/6/2010, is that when you --
  21 that.                                                21    A. Yes.
  22       Did you review this in preparation for         22    Q. -- remember selling the property?
  23 your deposition?                                     23    A. Yes.
  24    A. No.                                            24    Q. And we talked earlier that you learned of
  25    Q. Okay. So if you don't mind, just take a        25 Chinese drywall roughly in March 2009; is that

                                               Page 103                                                 Page 105
   1 second looking through this, and just let me know    correct?
                                                           1
   2 if there's anything you see here that you believe  2    A. Yes.
   3 is inaccurate or incomplete or where you would     3    Q. So about a year and nine -- nine months is
   4 like to say anything has changed. So if you don't  4 -- later you sold the home?
   5 mind just starting from the front, reading         5    A. Yeah.
   6 through, and seeing if there's any answers that    6    Q. Now, let's look in Section IV. We're
   7 might be different than what's reflected here.     7 going to look at Page 4.
   8 And please take as much time as you need.          8    A. Okay.
   9     A. It says, "Have you preserved at least one   9    Q. Here, it says the property was subject to
  10 sample of" the "type of drywall," the "endtape    10 a short sale with the lender, Bank of America. It
  11 . . ." I do have that.                            11 says the short sale price was $110,000.
  12     Q. Okay. You do?                              12       Is that what you recall being the short
  13     A. Yes.                                       13 sale price?
  14     Q. And -- and what section are you pointing   14    A. Yes.
  15 to?                                               15    Q. And where it says the amount owed on a
  16     A. I don't know. Page 5.                      16 loan/mortgage is $118,150, is that in addition to
  17     Q. Page 5.                                    17 the amount of the short sale price?
  18        And it's not -- and -- and to be clear     18    A. I don't know.
  19 here, where it says, "Have you preserved" any     19    Q. When you sold the home at the -- at -- for
  20 samples, it's not checked one way or the other    20 short sale, do you remember how much principal you
  21 right now?                                        21 owed on the -- owe -- owed on the home?
  22     A. That's correct.                            22    A. See, I don't.
  23     Q. And so you're representing for the record  23       And I also went to the sale with money.
  24 that you have preserved . . .                     24    Q. With money.
  25     A. A piece.                                   25       How much money did you go to the sale

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   1 with?                                                 1 receive that amount of money?
   2     A. I don't -- I don't -- I'd have to look it      2    A. Honestly, I don't really remember exactly
   3 up. I don't remember.                                 3 that went -- came from or went to. It's 10 years.
   4     Q. We can -- we'll -- we'll introduce more        4    Q. Totally understand.
   5 documents on that.                                    5    A. In -- in multiple small payments too; so
   6     A. Okay.                                          6 I -- I don't remember.
   7     Q. So just -- if you don't remember, please       7    Q. Have you received any other payments in
   8 just tell me that. That's fine. We can come to        8 relation to Chinese drywall?
   9 it later.                                             9    A. No. Just whatever's here.
  10       When you conducted the short sale in           10    Q. Okay. Now, looking at Section VII, which
  11 December 2010, do you remember if there was less     11 is on Page -- starts on Page 5. Section VII is
  12 than $200,000 owed on the mortgage?                  12 listed "Other Damages." The first line here says,
  13     A. I -- I don't remember. I -- yeah. I           13 "If you incurred alternative living expenses as a
  14 would say yes --                                     14 result of Chinese Drywall, identify the total
  15     Q. Okay.                                         15 moving cost and/or alternative living expense you
  16     A. -- but I don't remember.                      16 incurred."
  17     Q. Do you remember if you ultimately had to      17        And that's $65,854.63?
  18 pay $118,150 to Bank of America after the short      18    A. Yes.
  19 sale?                                                19    Q. Do you know how you came to that number,
  20     A. I don't remember.                             20 $65,854.63?
  21     Q. Okay. Did they ever collect any               21    A. I guess Exhibit 12.
  22 additional amount on the mortgage after the short    22    Q. And that's the register report?
  23 sale?                                                23    A. Yes.
  24     A. Yes.                                          24    Q. Now, looking at the register report, that
  25     Q. How much? Do you remember?                    25 includes rent payments of $3,000 on 4/1/2009,

                                              Page 107                                                Page 109
   1    A. Whenever I came -- I went -- like I said,       1 5/2/2009, 6/1/2009, 7/1/2009, so on and so on?
   2 I brought money to the closing, and I had a -- and    2    A. Yes.
   3 I don't know where that -- those funds were. I        3    Q. And as we've discussed earlier, you -- you
   4 had a promissory note for $45,000. So I don't         4 didn't actually make those payments; right?
   5 know who that was to or for --                        5    A. Right.
   6    Q. Understood.                                     6    Q. So you -- are you seeking compensation for
   7    A. -- at the time.                                 7 rent payments you have not made?
   8    Q. Now, looking at Section VI, which is Prior      8    A. Yes.
   9 Payments -- it's on Page 5.                           9    Q. Okay. And that is reflected in the
  10    A. Okay.                                          10 65,854.63 that is in Section VII of Exhibit 14, if
  11    Q. It lists -- the question asks, "Have you       11 you look at Exhibit 14?
  12 received any payments, including but not limited     12    A. I am. Okay.
  13 to settlement payments, payments from                13    Q. It's on Page 5 --
  14 homebuilders, and insurance payments, related to     14    A. Okay.
  15 damages you claim to have suffered caused by         15    Q. -- at the bottom there.
  16 defective Chinese drywall in the Property or         16    A. Yes.
  17 related to any other harm caused by defective        17    Q. And so those rent payments you have not
  18 Chinese drywall?" "If Yes, identify the" source      18 made are reflected in that amount of money?
  19 "and state the amount of" payment "you received."    19    A. Yes.
  20       Here, you've listed, "Source: CDW              20    Q. If you look at Page -- and -- and I
  21 Settlement Program," and you've received the         21 apologize. Just to reiterate one more time here,
  22 amount of $32,373.92.                                22 we -- when we're talking about the 65,854.63, all
  23       Did you receive that amount of money?          23 of that value, all of those receipts are reflected
  24    A. Yes.                                           24 in Exhibit 12? There's no other receipts
  25    Q. And what does that relate to? Why did you      25 outstanding, no -- nothing else --


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   1     A. Not to my knowledge.                         1     A. I would say yes.
   2     Q. If it's not in the register report, it's     2     Q. What -- what amount are you seeking?
   3 not included in the damages --                      3     A. I guess whatever the price of the house
   4     A. I don't think so.                            4 was, less -- less what was paid.
   5     Q. -- you are seeking?                          5     Q. So the purchase price less the sale price
   6     A. Yeah. I don't know.                          6 that you . . .
   7     Q. A line down here, it says, "If you           7     A. I think that would be a rough estimate.
   8 experienced any loss of use and/or loss of          8     Q. Okay. And even though that's not listed
   9 enjoyment of the Property as a result of Chinese    9 here, you are seeking those damages in this
  10 Drywall, identify the total amount of such loss."  10 litigation?
  11 And so you've listed $50,000.                      11     A. I think so.
  12         How did you come to $50,000?               12     Q. Okay. Are you the sole owner of the claim
  13     A. That's just a rough estimate.               13 for all the damages that you seek in this lawsuit?
  14     Q. And -- and what did you include in -- what 14 Is there anyone else who can make claim for the
  15 did you include as your criteria in coming to that 15 damages that were caused to the property because
  16 rough estimate?                                    16 of Chinese drywall?
  17     A. Well, enjoyment of living, isn't that what  17     A. Oh, no.
  18 it . . . Enjoyment of living. I mean, I haven't    18     Q. Okay. So you had no co-owner who might
  19 been able to buy a house. I haven't been able to   19 also have a --
  20 do anything. It totally froze my life.             20     A. No.
  21     Q. Okay.                                       21       And the person who bought it, he signed
  22     A. I mean $50,000 is just a rough estimate.    22 his -- he waived his rights.
  23 It's -- it's probably a higher number than that.   23     Q. Okay. And you specifically waived --
  24     Q. Okay. And you're saying probably a higher 24 asked for that waiver of rights when you --
  25 number than that.                                  25     A. Yes.
                                             Page 111                                               Page 113
   1       Are -- are you seeking a higher number        1    Q. -- made the short sale?
   2 than that, or are you seeking $50,000?              2      MR. BARRY:
   3    A. I don't know. I don't know.                   3         Let's take a quick break. And then I
   4    Q. Is there another value that is not listed     4      don't have too many more questions. We'll
   5 here that you're seeking here related to the loss   5      talk for just a little bit more. But it's
   6 of use and enjoyment?                               6      a good time for a break --
   7    A. No.                                           7      THE WITNESS:
   8    Q. Down two lines here, it says, "If you         8         Okay.
   9 claim a diminution in value of the Property as a    9      MR. BARRY:
  10 result of Chinese Drywall, identify the total      10         -- because the next section's a little
  11 amount of such diminution of value being claimed." 11      long.
  12 And there's no value listed.                       12      (Brief recess was taken.)
  13       Are you seeking damages for diminution in    13      MR. BARRY:
  14 value of the property related to Chinese --        14         I'm going to hand you -- or hand your
  15    A. Clarify "diminution of value."               15      counsel a document.
  16    Q. The reduction in the value of the home       16 BY MR. BARRY:
  17 because of Chinese drywall.                        17    Q. This is a document that is Exhibit 15,
  18    A. So ask the question again.                   18 which is 2008 Property Tax Parish of St. Tammany.
  19    Q. "If you claim a diminution in value of the   19      (Exhibit No. 15 was marked for
  20 Property as a result of Chinese Drywall, identify  20      identification and attached hereto.)
  21 the total amount of such diminution of value being 21 BY MR. BARRY:
  22 claimed." And there's nothing listed here.         22    Q. I've -- if I've mispronounced that too,
  23       Are you claiming that -- damages for the     23 let me know.
  24 diminution in value of the home because of Chinese 24    A. No.
  25 drywall?                                           25    Q. And what we're looking at here is Page 2.

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   1 This is a letter dated September 25th, 2009. And      trying to negotiate anything with your lender at
                                                                1
   2 in it, it says that "After a careful review of the  2 the time?
   3 above referenced assessment, I have reduced the     3    A. Yeah. I tried to call the lender. The
   4 assessed value to 7,614, a market of" 76140 "for    4 lender wouldn't talk to me.
   5 the 2009 tax year, due to Chinese drywall."         5    Q. Did you ever receive a response from the
   6        Did you receive a tax -- a reduction in      6 lender?
   7 your tax assessment because of Chinese drywall?     7    A. Well, I think you need to clarify.
   8    A. Yes.                                          8 Because there's a short sale, which has to be
   9    Q. Did you request that?                         9 approved by the lender --
  10    A. Yes.                                         10    Q. Right. Of course.
  11    Q. And do you remember what the amount -- 11 A. -- so I did get that.
  12 market value was prior to that?                    12    Q. So at the time you were listing the
  13    A. Prior to what?                               13 property, was there any communication with the
  14    Q. Prior to the reduction to 76,000.            14 lender?
  15    A. You mean how much were the taxes?            15    A. Yeah. I -- I tried. That was part of the
  16    Q. The tax assessment, do you remember how 16 whole not paying the mortgage --
  17 much --                                            17    Q. So did the --
  18    A. Yeah. I don't remember.                      18    A. -- for those few months.
  19    Q. You don't remember?                          19    Q. So you tried. Were -- was this a one-side
  20    A. I do not.                                    20 communication? Was the lender responding to you
  21    Q. Do you remember --                           21 at all?
  22    A. Well, I guess this would be it, $2,632 --    22    A. Right. And that -- no. Not -- not until
  23    Q. So 2008 --                                   23 the short sale started --
  24    A. -- on Page 1.                                24    Q. Okay.
  25    Q. Uh-huh. So in 2008, you paid $2,632.14 in    25    A. -- to take place.
                                                    Page 115                                               Page 117
   1 taxes on the property?                                     1    Q. That's helpful clarification. Thank you.
   2    A. Yes.                                                 2       MR. BARRY:
   3    Q. And now -- and that -- that's reflected on           3          Do you mind handing me 19.
   4 Page 1; is that correct?                                   4 BY MR. BARRY:
   5    A. Yes.                                                 5    Q. I'm going to hand you which is --
   6    Q. So if we're looking at Page 3 now, it says           6 Exhibit 16.
   7 that you paid $138.14 in taxes in 2009; is that            7       (Exhibit No. 16 was marked for
   8 correct?                                                   8       identification and attached hereto.)
   9    A. That's correct.                                      9 BY MR. BARRY:
  10    Q. So there was approximately a 2500-dollar            10    Q. This is Exhibit 16, which is a document
  11 reduction in the amount of taxes you had to pay --        11 from Chehardy & Sherman. And it is dated
  12    A. Yes.                                                12 August 16th, 2010, and it is to Bank of America.
  13    Q. -- from 2008 to 2009?                               13       Have you seen this document before?
  14       And, according to this letter, that was             14    A. Yes.
  15 because of Chinese drywall?                               15    Q. And looking through these set of
  16    A. Yes.                                                16 documents, what -- what are the documents that are
  17    Q. So -- we talked a little bit, that you did          17 in this -- this Exhibit 16?
  18 a short sale in 2010, and that was after having           18    A. They're letters from the attorney, I
  19 listed the property for approximately a year, you         19 believe, to the bank, trying to get communication,
  20 said? A little less than a year?                          20 explaining the situation, I believe, isn't it?
  21    A. September to December.                              21 Yes.
  22    Q. Okay. September 2009 to December of 2010?           22    Q. And in this letter, if you look at
  23    A. Uh-huh.                                             23 Paragraph 3, it says, Miss "Haindel had no choice
  24    Q. And when you were working with the real             24 but to move out of the house last year, and" it's
  25 estate agent to sell the property, were you also          25 "been vacant ever since then. This property will


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   1 have to be completely gutted before it" could "be       1    A. -- could have been the offer that fell
   2 occupied again. Although" Miss -- "although" Miss       2 through.
   3 "Haindel tried to keep her Bank of America loan         3    Q. And at that time Bank of America was
   4 current, she simply could not afford to service         4 agreeing to accept $110,000?
   5 both that loan and pay living expenses at her           5    A. Yes, I guess.
   6 current residence. As a result, she stopped             6    Q. Okay. For the short sale?
   7 paying the Bank of America loan some months ago." 7          A. Uh-huh.
   8      Were -- what -- what were the living               8    Q. So that would imply that Bank of America
   9 expenses that you were having to pay at the             9 made some sort of response during this time period
  10 current residence that prevented you from paying       10 or was at least in communication with you or your
  11 on the mortgage?                                       11 counsel?
  12    A. What -- what do you -- what's the                12    A. Yes. September -- right. So the first
  13 question?                                              13 letter was August 16th. The second letter was
  14    Q. Here, it says she -- you "could not afford       14 September.
  15 to service both that loan and pay living expenses      15    Q. Okay. Let's turn to Page 3 or -- sorry.
  16 at her current residence."                             16 Page 4, 5. Now, this is a short sale amendment to
  17    A. I was maintaining a whole 'nother house.         17 approval letter from Bank of America Home Loans.
  18    Q. And -- and --                                    18 And it's dated November 22nd, 2010. And it lists
  19    A. And I was paying still two HOA fees, two         19 the buyer as Lord -- Lloyd Tournet for the sales
  20 electric, two everything.                              20 price of $110,000.
  21    Q. So was -- the living expenses, not the --        21    A. Yes.
  22 the rent payments or anything like that --             22    Q. Is that who ultimately purchased your
  23    A. Right.                                           23 home?
  24    Q. -- during the . . . Okay.                        24    A. Yes.
  25      Here, it lists that there -- if you turn          25    Q. And at the bottom here are some
                                                Page 119                                                  Page 121
   1 the page, this is Page 2 on the document. It says       1calculations from Bank of America. It says
   2 you received an offer to purchase the condominium       2"Proceeds from sale," "$103,150.00." And then it
   3 for a hundred thousand dollars in Paragraph 2          3 says "Cash Contribution" of "$15,000.00."
   4 here.                                                  4      Earlier we talked about -- you brought
   5    A. Yes.                                             5 some cash to the sale. Was that $15,000?
   6    Q. Was that the sale that fell through?             6    A. Yes.
   7    A. No. Oh, I don't know.                            7    Q. And then there would be a promissory note
   8    Q. You don't remember one way or the other          8 of $45,000.
   9 whether that was the sale that fell through?           9      Did you ultimately sign a promissory note
  10    A. No.                                             10 with Bank of America for $45,000?
  11    Q. Okay.                                           11    A. Yes, I did.
  12    A. I don't remember.                               12    Q. Do you remember if you've paid on that
  13    Q. Do you know if Bank of America responded        13 promissory note?
  14 to this letter?                                       14    A. Did I pay on it? Yes. I paid it.
  15    A. To my knowledge, I don't -- I don't             15    Q. Is it paid off in full now?
  16 remember. Let me say no, because I didn't -- they     16    A. It is.
  17 didn't give me any reprieves.                         17    Q. Okay. And beyond that, if there was any
  18    Q. Okay. So looking at the next letter,            18 remaining principal on the -- on the loan, do you
  19 which is dated September 22nd, 2010 -- and that's     19 remember if Bank of America forgave the rest of
  20 in the same Exhibit 16 -- this shows that you         20 that principal?
  21 received an offer for $105,000 in September of        21    A. I think so. I'm not --
  22 2010.                                                 22    Q. Okay.
  23       Is that the offer that --                       23    A. -- sure.
  24    A. That --                                         24    Q. So anything above and beyond this $163,150
  25    Q. -- fell through?                                25 was forgiven by Bank of America?


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   1    A. I don't know.                                     1    Q. So -- I apologize.
   2    Q. Did the bank ever -- when -- when you             2    A. I know.
   3 stopped making payments on the house, did the bank 3         Q. That's one where I have to --
   4 ever threaten to foreclose on the house?                4    A. I know. Okay.
   5    A. That's a good point. I don't think.               5    Q. -- be able to ask the full question and
   6    Q. Did they ever send you a default notice?          6 answer. I know you know what I'm asking.
   7 Do you remember?                                        7       So in part, your business was suffering
   8    A. I don't -- this is interesting. I don't           8 because of the reinvigoration of New Orleans
   9 remember. Because that would be logical, but I          9 post-Katrina, where people were still moving back
  10 don't remember that.                                   10 into town; so you were not making the same income
  11    Q. Did you ever request a forbearance?              11 you were prior to Katrina?
  12    A. Define "forbearance."                            12    A. No.
  13    Q. That's a term in the mortgage world for          13    Q. So is it fair to say that
  14 we'll stop collecting payments for a little bit        14 Hurricane Katrina affected your income?
  15 and allow you --                                       15    A. Oh, that's very fair to say.
  16    A. Right. No.                                       16    Q. Do you know how much it would have
  17    Q. -- not to pay.                                   17 affected your income?
  18    A. No. That's what I was looking for. No.           18    A. I have -- I don't know.
  19 No.                                                    19    Q. Okay. But because of that net change in
  20    Q. You ultimately owe that amount, but --           20 income, that affected your ability to pay for the
  21    A. Yeah.                                            21 house?
  22    Q. -- we'll -- we won't --                          22    A. Yes.
  23    A. Right.                                           23    Q. Did you have any -- other than the ones
  24    Q. -- collect it for six months or so.              24 that we've talked about related to Chinese
  25    A. Yeah. No. That -- none of that occurred.         25 drywall, did you have any medical conditions

                                                 Page 123                                               Page 125
   1    Q. Okay. Do you remember if there's any            during
                                                             1     that time period?
   2 other correspondence with Bank of America?          2    A. No.
   3    A. Well, I mean, I -- I --                       3    Q. Did any members of your family have any
   4    Q. At least prior to this November, or           4 medical conditions or unforeseen expenses that you
   5 September 2010 --                                   5 ended up having to pay for?
   6    A. I don't remember.                             6    A. No. I don't think -- I don't remember.
   7    Q. Were there any other factors that             7 But no.
   8 prevented you from being able to pay on the home    8    Q. Had you been sued, or any -- was there a
   9 loan other than having to maintain two properties?  9 judgment against you during that time period?
  10    A. I -- I don't -- to -- I don't know.          10    A. No. No.
  11    Q. Were there any changes to your job during    11    Q. I know. I have to ask the question.
  12 that time period?                                  12    A. No. I know. I -- and I'm trying to
  13    A. Well, yeah. I wasn't working because I       13 think. I'm trying to put myself back in the time.
  14 couldn't -- my -- I couldn't do anything. I was    14    Q. I totally understand. This is a while
  15 frozen. I mean, my life was total chaos.           15 ago.
  16    Q. And so you couldn't work because of --       16       Was there any time period where you
  17 explain --                                         17 stopped working not because, you know, the -- what
  18    A. You're re-establishing yourself.             18 we talked about with post-Katrina and business
  19    Q. And -- and --                                19 development, because, you know, you had the
  20    A. I just moved to Mandeville. The timing on 20 inability to work because of health conditions or
  21 this, Katrina -- I'm just getting over there.      21 anything like that?
  22 You -- you have to re-establish yourself.          22    A. I don't know. I don't even -- I don't
  23 New Orleans wasn't back yet.                       23 know.
  24    Q. So because of Katrina, because of new --     24    Q. Did you have any -- excluding costs
  25    A. Of the dynamics.                             25 related to Chinese drywall, did you have any

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   1 unforeseen expenses, such as, you know, needing to 1 the amount that Bank of America forgave on the
   2 replace a car or something of that sort, like some  2 loan; correct?
   3 big expense that you were not expecting during      3    A. No.
   4 this time period?                                   4       MR. BARRY:
   5    A. During the Chinese drywall period?            5          If you can hand me 42.
   6    Q. Uh-huh.                                       6 BY MR. BARRY:
   7    A. I -- I don't think so. I don't remember,      7    Q. This is Exhibit 18, which is a letter from
   8 but I don't . . .                                   8 Latter & Blum, Inc., Realtors, dated
   9    Q. Did you have any other major debts besides    9 September 9th, 2014, signed by John Schaff, an
  10 you're mortgage?                                   10 associate broker.
  11    A. To my knowledge, I don't remember, but I     11       (Exhibit No. 18 was marked for
  12 don't think so.                                    12       identification and attached hereto.)
  13    Q. So ultimately Bank of America did approve 13 BY MR. BARRY:
  14 your short sale; is that correct?                  14    Q. Who is Latter & Blum?
  15    A. Yes. That, I remember.                       15    A. Latter & Blum is the listing agent -- the
  16       MR. BARRY:                                   16 listing company on my house.
  17          Now if you'll give me Tab 40.             17    Q. And was John Schaff --
  18       Actually, skip that. Skip that. Let's go     18    A. He was one --
  19       to 41.                                       19    Q. -- your broker?
  20          Seventeen.                                20    A. -- of the agents.
  21       (Exhibit No. 17 was marked for               21    Q. And this letter reads, "I'm writing to
  22       identification and attached hereto.)         22 confirm that I was the listing agent for Mary
  23 BY MR. BARRY:                                      23 Haindel's property at 1224 Magnolia Alley in
  24    Q. I've handed you what is Exhibit 17, which    24 Mandeville, LA. The property was affected by
  25 is the affidavit of short sale.                    25 Chinese drywall and because of that we were unable

                                              Page 127                                              Page 129
   1       Do you recognize this document?               1to sell it for market value. This not only forced
   2    A. Again, it's my handwriting. But yeah, I      2 her to take a substantial reduction in price, but
   3 have -- I don't remember it.                       3 also caused her to have to request a short sale."
   4    Q. And reading through the document, is this 4          Is this a document you requested your
   5 just a document that reflects the amount that --   5 realtor to prepare for you?
   6 or that there was a short sale, the amount that    6    A. Oh, I -- I don't know why this was
   7 was paid on the short sale, and then what you      7 written, but it was written. I don't know.
   8 purchased the price -- purchased it for?           8    Q. Was there any other factors that caused
   9    A. Yes.                                         9 the reduction in value of price other than Chinese
  10    Q. Did you prepare this document? Do you 10 drywall?
  11 remember?                                         11    A. No.
  12    A. Yes.                                        12    Q. Was there anything, such as the economic
  13    Q. And that is your signature at the bottom? 13 downturn, that affected the price of the home?
  14    A. Yes.                                        14    A. No.
  15    Q. Okay. And does this -- in here, this --     15       Again, you had a city that wasn't back
  16 does this reflect the amount of loan forgiven by 16 yet; so they were all going across the lake.
  17 Bank of America or the cash that you brought to 17      Q. So other factors that would be included in
  18 the sale?                                         18 here was -- in part, there was a -- property value
  19    A. No.                                         19 dropped in Louisiana generally speaking? Is that
  20    Q. Okay. So the -- it doesn't show the --      20 what you're --
  21 the amount of cash you brought to the sale or     21    A. No.
  22 the --                                            22    Q. -- saying?
  23    A. No.                                         23    A. No. What I'm saying is -- what was your
  24    Q. -- amount secured, the -- the loan, the     24 question?
  25 promissory note that you made, or -- or the -- or 25    Q. My question was: Was there other factors

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   1 that affected the price of your home other than    1 dated February 16th, 2011, which is the third page
   2 Chinese drywall? So you purchased --               2 from the end.
   3    A. I said no.                                   3    A. Okay.
   4    Q. And so when you're saying the city getting   4    Q. And this is a letter to you from Bank of
   5 back on its feet, that was not something that you  5 America home loans, Mary Haindel. It says, "In
   6 believe affected the price of --                   6 2010, you completed a short sale of your home with
   7    A. No.                                          7 BAC Home Loans Servicing, LP. By this letter, we
   8    Q. Before you sold the house, did you have      8 wish to inform you that the remaining balance on
   9 any appraisal done on the value of the home?       9 the above-referenced loan will not be pursued."
  10    A. No.                                         10      So earlier we talked a little bit about
  11    Q. Did you ever have any other appraisal       11 whether they forgave the rest of the loan.
  12 done? Other than when you were purchasing the 12          Does this refresh your memory that they --
  13 home, was there any --                            13    A. Yes.
  14    A. No.                                         14    Q. Did they keep their word on this? Did
  15    Q. -- appraisal . . .                          15 they ever try to collect anything more?
  16       MR. BARRY:                                  16    A. Actually, they -- they -- I got -- I
  17          Let's do 43.                             17 received one phone call and I told them -- you
  18 BY MR. BARRY:                                     18 know, about the letter, and I didn't hear from him
  19    Q. Do you -- this is Exhibit 19, which starts  19 again.
  20 with a document on your letterhead dated          20      MR. BARRY:
  21 October 10th, 2010, and it is sent to Joyce Brasa 21        Let's find 18.
  22 of Bank of America short sale department.         22      MS. MANUPIPATPONG:
  23       (Exhibit No. 19 was marked for              23        Eighteen?
  24       identification and attached hereto.)        24      MR. BARRY:
  25 BY MR. BARRY:                                     25        Yeah.
                                             Page 131                                              Page 133
   1    Q. And this is -- what is this letter?          1 BY MR. BARRY:
   2    A. This letter appears to explain the           2     Q. But beyond this, there was no other
   3 dynamics of my situation.                          3 payments you have to make on the loans other than,
   4    Q. And the situation being that you were        4 of course, the promissory one?
   5 requesting --                                      5     A. To my knowledge.
   6    A. The house was --                             6       MR. BARRY:
   7    Q. -- a short sale because of Chinese drywall   7          And I'm going to hand you this.
   8 and your inability to pay on the home?             8       THE WITNESS:
   9    A. Uh-huh.                                      9          Sal.
  10    Q. And if you turn to here what is Page 1, 2,  10 BY MR. BARRY:
  11 3, 4 -- the fifth page here. And this is the HUD  11     Q. So this is Exhibit 19, which is a document
  12 settlement statement.                             12 from ReconTrust Company --
  13       Is this the HUD settlement statement from   13       MR. CHRISTINA:
  14 the short sale that you made in December of 2010? 14          Exhibit 20.
  15    A. Yes.                                        15       MR. BARRY:
  16    Q. And -- so it says contract sale price of    16          Twenty. Exhibit 20.
  17 $110,000; is that correct?                        17       (Exhibit No. 20 was marked for
  18    A. Yes.                                        18       identification and attached hereto.)
  19    Q. And we talked earlier that in addition to   19 BY MR. BARRY:
  20 that $110,000, you also brought $15,000 cash to   20     Q. Exhibit 20 from ReconTrust Company, NA.
  21 the table, and then you paid a -- you signed a    21 It's dated September 22nd, 2010. And this shows
  22 promissory note with Bank of America for $45,000; 22 -- here it says, "Recently the above referenced
  23 is that correct?                                  23 loan was paid-in-full. We have sent an original
  24    A. Yes.                                        24 Release of Mortgage and a recording fee check to
  25    Q. Now, if we turn to this letter that's       25 the County Recorder's Office."


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   1      Is this document canceling the mortgage?      1  A. I don't know. I don't think. I don't
   2   A. I believe so.                               2 know.
   3   Q. And so you owe nothing more on the          3    Q. You don't know just right now?
   4 mortgage as far as --                            4    A. Right. I mean, I -- it -- I'm -- I'm --
   5   A. Right.                                      5 you got to remember, this was 10 years ago. My
   6   Q. -- you're aware of?                         6 whole life stopped 10 years ago. And I mean, over
   7      Now looking back to Exhibit 19, the last    7 -- everything that's happened to me -- so to ask
   8 two pages here is an invoice from Chehardy,      8 me questions about numbers, I have no earthly
   9 Sherman, Ellis, Murray, Recile, Griffith,        9 idea.
  10 Stakelum & Hayes. That's a long name.           10    Q. I understand. And I --
  11      And the invoice total, based on the second 11    A. This was a horrible time in my life. So
  12 page -- I assume that's a law firm; is that     12 look, I -- I -- I'm just -- what can I say, you
  13 correct?                                        13 know? I don't know.
  14   A. It is.                                     14    Q. I -- I understand. I know this -- these
  15   Q. And the invoice total is $687.50?          15 are -- these are questions that are difficult to
  16   A. Yes.                                       16 talk --
  17   Q. Are -- was this the law firm that          17    A. And, I mean, it's easy to ask the
  18 represented you in relation to the short sale   18 questions too. And it doesn't -- it doesn't --
  19 and --                                          19 you're answering questions that -- that -- that
  20   A. Yes.                                       20 are so small in comparison to the bigger picture.
  21   Q. -- the close of the property?              21    Q. I -- I understand, ma'am. I --
  22      And did you have to pay $687 --            22    A. No. I know. I know.
  23   A. Yes.                                       23    Q. And I -- I'm -- all I'm trying to do is
  24   Q. -- 50 cents?                               24 understand    what you're asking for here. And it's
  25      And it says "payment applied to bill,"     25 to be able to -- and if you don't know, that --
                                             Page 135                                              Page 137
   1 minus a hundred dollars. So did you -- sorry.       1 that's --
   2 That was done inaccurately. Did I -- did you have   2    A. Yeah. I don't know.
   3 to pay $743 --                                      3    Q. -- that's acceptably fine. But I just --
   4    A. Yes.                                          4 I just need to know that you do not know or . . .
   5    Q. -- and 75 cents?                              5    A. I don't know.
   6       And are you asking for damages related to     6       MR. BARRY:
   7 the amounts you paid to that law firm in this       7           Okay. Let us take a quick break --
   8 lawsuit?                                            8       THE WITNESS:
   9    A. Yes.                                          9           Okay.
  10    Q. Do you know the total amount of damages      10       MR. BARRY:
  11 you're asking in relation -- in relation to the -- 11           -- and talk. And I don't think I have
  12    A. I don't.                                     12       any more questions for you. But they may
  13    Q. -- short sale?                               13       figure something out that I missed, and
  14    A. I -- I don't.                                14       they may have a question or two.
  15    Q. You don't know that.                         15       (Brief recess was taken.)
  16       Have you tried to calculate that number?     16 BY MR. BARRY:
  17    A. Probably 10 years ago I did them and not     17    Q. Going back on the record, I just have a
  18 -- you know, I don't remember.                     18 few more questions for you. I promise, just a
  19    Q. Okay. Outside of the -- the law firm         19 few. If you can look back at Exhibit 12, which is
  20 prices, the -- you talked about the loss of use    20 this one.
  21 and enjoyment. We've talked about the alternative  21    A. Okay. Okay.
  22 living expenses. And you said there's some number 22        THE WITNESS:
  23 of diminution in value.                            23           Thank you.
  24       Are there any other damages you're seeking   24 BY MR. BARRY:
  25 in this lawsuit?                                   25    Q. Now, looking down here on the memo side

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   1 and just looking at the -- the fourth line down              1      identification and attached hereto.)
   2 here, it says, 26.60 [sic] "total bill. split                2 BY MR. BARRY:
   3 Utilities w/Lori."                                           3    Q. And I'm not going to ask you too many
   4       Who is Lori?                                           4 questions on this.
   5    A. Lori was a neighbor who -- in                          5      Just comparing this document to
   6 Chinchuba Creek who also had Chinese drywall. And            6 Exhibit 12, what is -- what -- what is the
   7 my brother suggested that she -- if she needed a             7 difference between these two documents?
   8 place to stay, that she could stay in the family             8    A. Well, I think this is more -- I think the
   9 home. Because it was big enough that she could               9 4/11 is -- is really concentrating, I guess, on
  10 stay upstairs if she wanted to. So Lori, on                 10 the Chinese drywall.
  11 occasions, depending on her job, she would stay in          11    Q. The house with Chinese drywall? Is --
  12 the home. And then she would come and go. So she            12    A. Yeah. I --
  13 -- you know, we -- she -- we felt that it was               13    Q. -- that what you're saying?
  14 fair, that if she wanted to split the utilities,            14    A. -- think so.
  15 that -- I said, Go ahead and split them if you'd            15    Q. And -- so would it be fair to say that
  16 like, to be fair. I mean, these -- this was,                16 Exhibit 12 relates to the payments that you made
  17 again, a very expensive time. I mean, this really           17 on the family home, including utilities and rent,
  18 cost us a lot of money.                                     18 whereas --
  19    Q. Totally understand.                                   19    A. Right.
  20       Did -- in addition to splitting the                   20    Q. -- Exhibit 21 is related to payments you
  21 utilities when she was there, did Lori ever pay             21 made on the house that is affected by Chinese
  22 rent --                                                     22 drywall?
  23    A. No.                                                   23    A. Exactly.
  24    Q. -- on the house? No?                                  24    Q. And now, if you recall, when we were
  25    A. No.                                                   25 talking about Exhibit 12, I asked you to look

                                                    Page 139                                                Page 141
   1    Q. Did you ever ask her to pay rent?               through everything here and let me know if you see
                                                                  1
   2    A. No.                                           2 anything that is missing or incorrect.
   3    Q. Did she ever provide any other monetary       3       Do you mind looking through this document
   4 payment related other than paying -- splitting      4 and -- and --
   5 the --                                              5    A. Twelve --
   6    A. I don't remember.                             6    Q. -- and doing the same thing?
   7    Q. -- utilities?                                 7    A. Exhibit 12 or 21?
   8    A. I don't remember. Again, it was 10 years      8    Q. Let's do the same thing for Exhibit 12 --
   9 ago. In -- in her job, she traveled a lot. So I     9 21. Go through Exhibit 21 --
  10 don't -- I -- you know . . .                       10    A. Twenty-one.
  11    Q. You don't remember?                          11    Q. -- if you can look through and see if
  12    A. Uh-uh.                                       12 there's any cost or expenses that are missing here
  13       MR. BARRY:                                   13 or if there's anything that you think is
  14          Do you mind handing me that one more      14 incorrect. And take as much time as you need.
  15       document.                                    15    A. No. I -- I think everything is here.
  16          And keep Exhibit 12 in front of you       16    Q. And you prepared this; correct?
  17       just for a second. I'll hand you this.       17    A. Yes.
  18       THE WITNESS:                                 18    Q. And would this be the best reflection of
  19          Oh. That's for me? Oh.                    19 the expenses that directly relate to the house
  20       MR. CHRISTINA:                               20 where -- rephrase the question.
  21          Yeah.                                     21       Regarding the house that had Chinese
  22 BY MR. BARRY:                                      22 drywall, would this be the best reflection of the
  23    Q. And this is Exhibit 21, which is a           23 expenses directly related to the home?
  24 register report dated 4/11/2007 through 3/23/2011. 24    A. When you say "directly" . . .
  25       (Exhibit No. 21 was marked for               25    Q. So not including, you know, the payments

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   1 you made related to the family home, this reflects    1    Q. All right. And earlier you testified that
   2 the payments that are directly tied to this           2 you were a jewelry appraiser?
   3 home --                                               3    A. Yes.
   4    A. Well, they're --                                4    Q. Did you have any other jobs since the time
   5    Q. -- the Chinese drywall?                         5 you bought the house in Chinuba Creek?
   6    A. It's all -- it's all relative. So I             6    A. What do you mean by "jobs"?
   7 don't . . .                                           7    Q. Did you have any other professions that --
   8    Q. This would reflect the utilities, the HOA       8    A. I'm a realtor.
   9 fees?                                                 9    Q. Okay. And did you work for a company, or
  10    A. Right.                                         10 did you --
  11    Q. This --                                        11    A. I work for myself.
  12    A. It does.                                       12    Q. Okay. And it is correct that you still
  13    Q. Okay. Would there be any other place           13 owe rent to your family members for living in the
  14 where I'd be able to find those expenses or          14 house in the Sanctuary?
  15 anything else that's directly related to payments    15    A. Yes.
  16 or monies received related to the 1224 Magnolia      16    Q. When you left the Sanctuary, where did you
  17 Alley?                                               17 move to?
  18    A. Ask the question again.                        18    A. I moved to Florida.
  19    Q. Is there any other place other than this       19    Q. Where at in Florida?
  20 document that I could find any money that you        20    A. I have a -- Miramar Beach, Florida, I have
  21 received or amounts you paid related to --           21 a condo that I used to rent out. And since I had
  22    A. Oh.                                            22 nowhere to go in Louisiana, I moved to Florida.
  23    Q. -- 1224 Magnolia Alley?                        23    Q. Okay. And so you moved into the condo
  24    A. I guess no. I -- I have -- no. I don't         24 that you used to rent out?
  25 know, but I don't think so.                          25    A. That's right.
                                              Page 143                                               Page 145
   1       MR. BARRY:                                      1    Q. Do you recall how much rental income at
   2          I have no further questions.                 2 that time you were making from that unit?
   3       MS. WINAWER:                                    3    A. Fifty to 60,000.
   4          Nothing further. No questions.               4    Q. And I'm assuming while you were living
   5       MS. FASSBENDER:                                 5 there you did not rent out the --
   6          No questions. Thank you.                     6    A. No.
   7       MR. CHRISTINA:                                  7    Q. -- unit?
   8          I just have a couple of questions to         8       How long did you stay at the condo in
   9       follow-up with you, Miss Haindel.               9 Florida?
  10 BY MR. CHRISTINA:                                    10    A. Three years.
  11    Q. I'm going to ask you to look at Exhibit 2.     11    Q. Okay. And are you claiming that lost rent
  12       THE WITNESS:                                   12 as an item of your damages in this litigation?
  13          Okay. Thank you.                            13    A. I hadn't, but I guess yes.
  14 BY MR. CHRISTINA:                                    14    Q. Okay. If you'll look at Exhibit 8 for me.
  15    Q. And at the bottom of the paragraph that        15    A. Exhibit 8.
  16 starts off Chinuba [sic] Creek Gardenhomes, LLC,     16    Q. The -- can you identify what Exhibit 8 is?
  17 do you see that on the first page?                   17    A. It's the bills from Champagne --
  18    A. Yes.                                           18    Q. Okay.
  19    Q. Okay. There's a date at the bottom of --       19    A. -- Electric & Heating.
  20 toward the bottom of that paragraph.                 20    Q. And the first page, can you read what it
  21       Can you read that date for me.                 21 is they did for you that day?
  22    A. June 22nd, 2007.                               22    A. They installed a Lennox air purifier.
  23    Q. And would that be the date in which you        23    Q. And is that the HEPA filter that you
  24 believe you purchased the home?                      24 previously testified that you had added to the
  25    A. Yes.                                           25 house?


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   1    A. Yes.                                            1 was -- it was inhabitable, meaning you couldn't
   2    Q. And how much was -- was the cost of having      2 have people over. You couldn't live in the house.
   3 that added?                                           3 You couldn't -- it -- it was very difficult -- my
   4    A. 3,466; is that right?                           4 whole lifestyle changed again. It was -- you
   5    Q. No. It's on that --                             5 can't have people over. You can't -- you can't do
   6    A. Oh, okay.                                       6 anything.
   7    Q. -- page.                                        7       I spent 50 percent or 75 percent outside
   8    A. $1,643.                                         8 the house. We couldn't figure out the odor. I --
   9    Q. Okay. Can you read the full amount into         9 I realized, why are you always outside? Because I
  10 the record, please.                                  10 didn't like the odor inside the house. It made me
  11    A. Yeah. $1,643.25.                               11 sick. I didn't feel well.
  12    Q. Thank you.                                     12       So, I mean, it just turns your life upside
  13       I'm going to ask you to look at Exhibit 6      13 down when you lose a house. Banks won't talk to
  14 for me real quick.                                   14 you. Credit won't talk to you. Nobody's talking
  15    A. Exhibit 6?                                     15 to you now. So you -- your whole life's on hold.
  16    Q. Yes, ma'am.                                    16    Q. Okay. And then in your industry as a
  17    A. Okay. They're out of order. Seven, 1, 8,       17 jewelry appraiser, did you see any effect in that
  18 2, 3, 4 . . . 6.                                     18 industry due to the Chinese drywall?
  19    Q. It's the one that looks like --                19    A. Yes.
  20    A. Yeah. I have it.                               20       I'm going to -- since I'm a jewelry
  21    Q. -- this. Okay.                                 21 appraiser -- I was sitting in Brighton, and I saw
  22    A. Okay.                                          22 someone bring in a chain, a sterling silver chain.
  23    Q. Okay. And if you would turn, it's Page --      23 And I realized then -- when I saw the chain --
  24 one, two, three, four -- Page 6.                     24 they were accusing the product was bad. And I
  25       When you met with the representative from      25 said, The product's not bad. I can't get involved

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   1 Driskill Environmental Consultants, LLC, you gave     1 in this at the time. But I realized the product's
   2 an interview with them?                               2 not bad. It's where they live is bad. It's --
   3    A. Yes.                                            3 because what it would do is -- it would pit your
   4    Q. And can you tell me what was said during        4 jewelry. It would pit silver. And it would
   5 that interview as to why you were calling Driskill    5 tarnish gold. You -- it took a buffer to get it
   6 out to the house?                                     6 off because it would pit it.
   7    A. Because I was having allergic reactions to      7       And I ended up writing an article for the
   8 the house. I had a stuffy nose, watery eyes. For      8 National Association of Jewelry Appraisers,
   9 me, I was -- upper respiratory, you know, a           9 explaining to everybody: If you see this, this is
  10 scratchy throat --                                   10 what's causing it, it's not a defect in the
  11    Q. Okay. And --                                   11 silver, it's not a defect in -- in the gold or
  12    A. -- burning eyes.                               12 a -- or a alloy, it's because of the environment
  13    Q. And so earlier you were asked as to how        13 that they're in.
  14 the -- your loss of enjoyment or your loss of use    14    Q. Okay. And did Chinese drywall affect any
  15 of the house, how -- how it affected you having a    15 of the jewelry you had in your house?
  16 home with Chinese drywall.                           16    A. I had one ring -- I had a couple of rings.
  17       Was this one of the effects of --              17 And my jeweler, when he went to -- he asked me
  18    A. Yes.                                           18 where had I been with my jewelry. Where have you
  19    Q. -- living in a house with Chinese drywall?     19 been? I said, I haven't been anywhere. He said,
  20    A. Yes.                                           20 I can't even get this off, Mary, I'm buffing it
  21    Q. Other than having allergic reactions and       21 out on the wheel. And when he buffed it out -- it
  22 stuffy nose and watery eyes, what other effects      22 was a sterling silver or David Yurman ring I had.
  23 did living in a home with Chinese drywall have on    23 When he buffed it out, it was all pitted.
  24 your life?                                           24    Q. Were you able to ever get the -- the
  25    A. Well, first, the house was -- I mean, it       25 pitting out --


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   1    A. No.                                             while
                                                            1     I  was  living in the house. So I was paying
   2    Q. -- or the --                                  2 the note, the HOA fees, electricity, alarm,
   3    A. You can't get the pitting out, no,            3 whatever bills were -- were there with the house.
   4 especially on a designer piece. You have to send    4    Q. Your homeowners insurance?
   5 it back to David Yurman. He would have to redo a 5       A. Homeowners insurance, flood insurance,
   6 piece. He's not going to do that under these        6 every -- any and all insurances.
   7 circumstances. A designer piece is a designer       7    Q. Okay. The last exhibit that you were
   8 piece. You -- nobody else can touch it but the      8 asked to look at, Exhibit 21, one, two, three,
   9 designer. It'll alter -- if I touch it, it'll       9 four . . . if you would turn to Page 5.
  10 alter the piece and it won't be a David Yurman     10    A. I got to find it first.
  11 piece anymore. That's all designers.               11    Q. Okay.
  12    Q. And I -- I wanted to bring you back real     12    A. Twenty-one?
  13 quick to Exhibit 8. On the second page, this is a  13    Q. Yes.
  14 bill for replacing existing 12-inch return air     14    A. Okay. Turn to page what?
  15 duct with a new 18-inch return air duct, replacing 15    Q. Page 5.
  16 duct work in the master bedroom with two new       16    A. Okay. I think this is it.
  17 individual 6-inch ducts, installing new 90-degree  17    Q. And there's an entry on March 1st, 2010.
  18 collars on existing supply box where accessible,   18 There's a payment being made to Bank of America in
  19 and adding a new 7-inch duct in the kitchen,       19 the amount of $1,747.14.
  20 including the supply box and grille.               20    A. Yes.
  21       Did that go hand in hand with having the     21    Q. Would that refresh your memory as to when
  22 HEPA filter installed in the home?                 22 the last time you made a mortgage payment was?
  23    A. There were a couple of issues with the       23    A. Yes.
  24 home. But yes, this was all about installing the   24    Q. And so this -- and this time frame would
  25 HEPA filter to make it fit and to make sure that   25 have been after you had moved out of the house;

                                                Page 151                                                    Page 153
   1 the air getting in and out of the house -- that        1 correct?
   2 was one of the things they said: Maybe it's            2    A. Yes.
   3 something in the house. Because there's no --          3    Q. Okay. And if you could turn to
   4 every house breathes -- okay -- one way or             4 Exhibit 14, please. If you'd turn to the --
   5 another. And my house wasn't breathing. Between        5 Page 6. If you recall, earlier you were asked
   6 the foam insulation and everything else, it can't      6 questions related to Section VII about other
   7 breathe. So they -- and they were supposed to          7 damages you had had in the home, and they had gone
   8 have some filt- -- but anyway . . .                    8 through your loss of enjoyment and the alternative
   9       So, yes. What they did was they came --          9 living expenses you incurred. At the bottom of
  10 went in and revamped it. They thought maybe if        10 Page 6, there's a section for comments. And can
  11 they opened up the air, I guess whatever this is,     11 you read to me what's in that comment section?
  12 and give it more space or whatever, that this         12    A. "Had to pay for multiple AC repairs prior
  13 would have worked. This is, again, prior to           13 to the short sale. SPent" $7,000 and 35 -- wait.
  14 Chinese drywall. We were just figuring out what's     14 "$7,035.15 on AC repairs since buying the home."
  15 wrong with the house.                                 15    Q. And that would be in addition to the
  16    Q. And then -- so the -- the total for all         16 monies you had listed for alternative living
  17 the work done for your air ducts, could you read      17 expenses --
  18 that amount in for me?                                18    A. Yes.
  19    A. Three -- $3,466.                                19    Q. -- and loss of use; correct?
  20    Q. And while you were living in the                20    A. Yes.
  21 Sanctuary, you kept paying the bills at the house     21    Q. And then to your knowledge, homes on the
  22 in Chinuba Creek; correct?                            22 Northshore, where you lived after Katrina, did
  23    A. That's correct.                                 23 they tend to increase in value or decrease in
  24    Q. And what bills would this include?              24 value?
  25    A. I paid the note up until a certain time         25    A. They increased in value. We were a unique

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   1 time because while the rest of the world was          1    A. Yes.
   2 having trouble, New Orleans was growing and           2    Q. And when you moved to that house in
   3 Mandeville was growing; so the price of housing       3 Florida -- and you said you were paying 50 to --
   4 was going up in value.                                4 or what you would have received in rental income
   5    Q. So at -- at the time of your short sale,        5 if not for you living there would have been
   6 but -- is it your belief that but for Chinese         6 between 50 to 60K?
   7 drywall, you would have been able to get a price      7    A. Yep.
   8 for your home higher than what you originally paid    8    Q. That would be per year?
   9 for it?                                               9    A. Yep.
  10    A. Yes.                                           10    Q. Okay. Now, you moved -- when did you move
  11    Q. And then as a result of the short sale,        11 to the house in Florida?
  12 did you have any other difficulties due to having    12    A. After I sold Chinchuba and after I sold
  13 a short sale on your record?                         13 the family house.
  14    A. Yeah. A bank won't talk to you. You            14    Q. So you moved to the house in -- in Florida
  15 can't refinance. I can't buy a house. I haven't      15 after you had sold the house affected by Chinese
  16 bought a house since. I mean, that's just part of    16 drywall; is that correct?
  17 it. Credit -- my credit's gone. I mean, there's      17    A. Yes.
  18 not a bank that's going to talk to me.               18       Again, a bank wouldn't talk to me. I
  19    Q. Did Bank of America --                         19 can't buy a house. Where am I going to go?
  20    A. Bank of -- go on. I'm sorry.                   20    Q. We -- you -- you said when your counsel
  21    Q. Did Bank of America cancel any of your         21 was asking you questions that you believe that
  22 credit with them other than dealing with that        22 homes in the area you lived increased in value if
  23 loan?                                                23 not for Chinese drywall --
  24    A. Yep.                                           24    A. Right.
  25       I had a Bank of America card -- credit         25    Q. -- is that correct?

                                              Page 155                                                   Page 157
   1 card which had a very high limit on it. And I         1    A. That's correct.
   2 worked hard to get that, because I was living in      2    Q. What is the basis for that belief?
   3 California at the time, going to GIA. And they        3    A. Sales.
   4 saw that I was a good -- a good -- you know, I did    4    Q. What -- and what sales data did you look
   5 everything right or whatever. And I had a very        5 at?
   6 high limit on it. The very day that this stopped      6    A. Everything that was going on around me.
   7 was the very day that they canceled that credit       7 Look -- look -- I -- I sold the house shortly
   8 card. Because nobody would talk to me, not -- not     8 thereafter, my -- the family home. I -- the price
   9 a bank, nobody, nothing. I can't -- I can't -- I      9 of housing -- it was a very unique time because of
  10 still to this day am having difficulty. It's         10 Katrina. So housing outside of New Orleans
  11 still on my -- all -- still on my record.            11 started increasing twofold. I mean, it was -- and
  12    Q. Are you seeking damages for the impact the     12 it kept on because you couldn't even come back
  13 short sale had on your credit?                       13 into New Orleans until 2006 and 2007; so people
  14    A. Yeah, I am.                                    14 who were trying to get back were buying on the
  15    Q. And are you seeking damages for all the        15 Northshore.
  16 appliances and items that you had to abandon in      16    Q. Did you obtain any assessment that would
  17 the home when you moved out?                         17 say that if not for Chinese drywall this house
  18    A. Yes. Everything inclusive of the house.        18 would sell for X, Y, Z amount --
  19        MR. CHRISTINA:                                19    A. No.
  20           That's all the questions I had.            20    Q. -- of dollars?
  21        MR. BARRY:                                    21    A. No.
  22           I have a few follow-up questions.          22    Q. You talked a little bit about the effect
  23 BY MR. BARRY:                                        23 of the short sale on your credit and your ability
  24    Q. We talked a little bit about how you moved     24 to get credit cards.
  25 to the house in Florida; is that correct?            25       Have you applied for credit cards since --

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   1    A. Yeah.                                           1 abandon?
   2    Q. -- the short sale?                              2    A. The washer and dryer, the -- I mean, the
   3    A. Thousand dollars is what they'll give me.       3 refrigerator, the microwave, anything that was in
   4    Q. Okay. Have you applied for a home loan          4 the house that you might have been -- a
   5 since then?                                           5 refrigerator, you would take with you now.
   6    A. Yes. Declined. I tried to refinance             6    Q. You would normally, when you sell a home,
   7 Florida. They said no.                                7 take your --
   8    Q. Have -- have there been any -- other than       8    A. You take your --
   9 trying to refinance in Florida, has there been any    9    Q. -- refrigerator and your --
  10 other effect to obtain a home loan?                  10    A. -- refrigerator and take your washer,
  11    A. Well, after a while you stop.                  11 dryer.
  12    Q. Okay. So there was one rejection of a          12    Q. When -- when you sold your family home,
  13 home loan. There wasn't any more than that?          13 did you take your refrigerator and washer and
  14    A. No, there were two. I had tried to buy a       14 dryer with you?
  15 condo on St. Charles Avenue. And, again, the         15    A. No, because I was going to a furnished
  16 banks just were like, nah. They -- they --           16 condo.
  17 they're very fuzzy about that.                       17    Q. But they stayed with the house --
  18    Q. And when were you trying to buy that home      18    A. Yeah.
  19 on St. Charles Avenue?                               19    Q. -- otherwise?
  20    A. Two years ago.                                 20    A. Not -- yeah.
  21    Q. And how much of that home were you trying      21    Q. They -- you didn't give them to your
  22 to finance?                                          22 brothers or anything like that?
  23    A. It was only 280 -- 260,000.                    23    A. That's a good point. No, I didn't.
  24    Q. And were you trying to finance the entire      24    Q. Okay.
  25 260,000 or --                                        25    A. I don't think I did. I don't remember
                                               Page 159                                                  Page 161
   1    A. No. I would --                                 doing
                                                           1     that.
   2    Q. -- some portion of it?                       2    Q. All right.
   3    A. -- give a deposit. Yeah.                     3    A. But no, I don't -- I've got one that would
   4    Q. And how much were you trying to refinance    4 reach their hand out. I don't think I did.
   5 on the home in Florida?                            5    Q. Okay. When you moved into the home -- the
   6    A. The condo was worth 700,000. There was a 6 home affected by Chinese drywall in -- I can't
   7 200,000-dollar mortgage on it. And I was looking   7 remember. Was that 2007, 2008?
   8 to try and get 300,000. So there was more than     8    A. Whatever. You know, I don't . . .
   9 enough equity in the house to do it.               9    Q. Was there any fixtures or appliances that
  10    Q. And when was that one -- was that one       10 came with the home? Was there a refrigerator in
  11 rejected?                                         11 the home? Was there a microwave in the home? Was
  12    A. 2012, 2011.                                 12 there a --
  13    Q. Besides home loans, were there any other    13    A. There was a --
  14 loans that you have been rejected for since the   14    Q. -- washer and dryer?
  15 short sale? Have you tried to get a, you know,    15    A. -- microwave in the home. There was no
  16 business credit line, or have you tried to get    16 refrigerator. There was no washer and dryer.
  17 a --                                              17    Q. So did you --
  18    A. No. I mean, you know, you can only take     18    A. There was an --
  19 it so much. You start -- it's just stupid to have 19    Q. -- purchase --
  20 all this negative. You keep going, and they're    20    A. -- oven and stove.
  21 saying no. You're going to be very careful when   21    Q. Did you purchase those items that were not
  22 you do it.                                        22 in the home? Did you purchase the refrigerator?
  23    Q. You just a moment ago said that you had to 23 Did you --
  24 abandon appliances at the house when you sold it. 24    A. Yes.
  25       What -- what appliances did you have to     25    Q. And you purchased the washer and dryer?

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   1    A. Yes.                                          1   Q. I mean -- I'm sorry. I wasn't --
   2    Q. Do you have receipts for those purchases?     2   A. Have I ever --
   3    A. You know, I -- I just started thinking        3   Q. -- clear. Acting --
   4 about it. No. I don't know if I do or I don't       4   A. -- represented anybody?
   5 now.                                                5   Q. Yes.
   6    Q. Okay.                                         6   A. No.
   7    A. I'd have to go back and look and see.         7   Q. Acting as a realtor?
   8    Q. Do you believe those have been produced to    8   A. No.
   9 us in this litigation? Do you have any              9   Q. Okay.
  10 recollection or knowledge? Have you provided       10   A. No.
  11 those to your counsel?                             11   Q. And so you still today are -- are able --
  12    A. What?                                        12 an active realtor --
  13    Q. The receipts for the refrigerator, the       13   A. Yes.
  14 receipts for the --                                14   Q. -- broker?
  15    A. I don't -- I --                              15   A. Yes.
  16    Q. -- washer and dryer.                         16   Q. Okay.
  17    A. -- don't remember. I don't know if I did     17   A. I'm a member of MLS and NOMAR --
  18 or I didn't. I don't think so.                     18   Q. Okay.
  19       MR. BARRY:                                   19   A. -- New Orleans Metropolitan Realtors
  20          I have no further questions on my end.    20 Association.
  21       I don't . . .                                21      MS. FASSBENDER:
  22       MS. WINAWER:                                 22         I have no other questions.
  23          No further questions.                     23         I did want to note my appearance.
  24       MS. FASSBENDER:                              24      Earlier, I'm not sure I stated it
  25          I have -- I have a few questions.         25      correctly. I'm also here on BNBM --
                                            Page 163                                                     Page 165
   1 BY MS. FASSBENDER:                                  1     behalf of BNBM Group, BNBM, PLC, and CNBM
   2    Q. You mentioned that you are also a realtor? 2        Company.
   3    A. Yes.                                        3       MR. CHRISTINA:
   4    Q. Do you -- when did you obtain your          4          No questions.
   5 license?                                          5       MR. BARRY:
   6    A. 1986. And then I became a broker in 2012 6             Do you have any?
   7 or '14, '13, somewhere around there.              7       MR. CHRISTINA:
   8    Q. And -- so are -- are you actively --        8          No questions.
   9 actively --                                       9       MR. BARRY:
  10    A. I'm a realtor.                             10          And -- and we'll just put for the
  11    Q. You're an active realtor?                  11       record that we'll reserve if any other
  12    A. Yes.                                       12       documents are produced or other -- or
  13    Q. Okay. And did you try -- attempt to sell   13       items are amended. But I appreciate you
  14 your home yourself?                              14       being here. Thank you for being patient
  15    A. I cannot.                                  15       with me and --
  16    Q. Oh.                                        16       THE WITNESS:
  17    A. It's an arm's length transaction           17          That's all right.
  18 because --                                       18       MR. BARRY:
  19    Q. Okay.                                      19          -- sitting here and listening and
  20    A. -- it's a short sale.                      20       talking. And I -- I -- I hope that you --
  21    Q. Okay. Have you ever sold a property with 21         you get -- you're free from this and do
  22 Chinese drywall in it?                           22       not have to chat again. So thank you so
  23    A. No. My house. That --                      23       much.
  24    Q. I meant other --                           24       (The proceedings concluded at 12:46 p.m.)
  25    A. I mean --                                  25


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   1           CERTIFICATE                                       1             ERRATA SHEET
   2   This certification is valid only for                      2 WITNESS:        MARY VIRGINIA HAINDEL
   3 a transcript accompanied by my original signature           3 DATE TAKEN:        Tuesday, February 19, 2019
   4 and original seal on this page.                             4
   5   I, AURORA M. PERRIEN, Registered Professional             5 Page#___ Line#___ Reason:_______________________
   6 Reporter, Certified Court Reporter, in and for the          6 Now Reads:________________________________________
   7 State of Louisiana, as the officer before whom              7 Change To:________________________________________
   8 this testimony was taken, do hereby certify that            8 Page#___ Line#___ Reason:_______________________
   9 MARY VIRGINIA HAINDEL, after having been duly               9 Now Reads:________________________________________
  10 sworn by me upon the authority of R.S. 37:2554,            10 Change To:________________________________________
  11 did testify as hereinbefore set forth in the               11 Page#___ Line#___ Reason:_______________________
  12 foregoing 165 pages; that this testimony was               12 Now Reads:________________________________________
  13 reported by me in the stenotype reporting method,          13 Change To:________________________________________
  14 was prepared and transcribed by me or under my             14 Page#___ Line#___ Reason:_______________________
  15 personal direction and supervision, and is a true          15 Now Reads:________________________________________
  16 and correct transcript to the best of my ability           16 Change To:________________________________________
  17 and understanding; that the transcript has been            17 Page#___ Line#___ Reason:_______________________
  18 prepared in compliance with transcript format              18 Now Reads:________________________________________
  19 guidelines required by statute or by rules of the          19 Change To:________________________________________
  20 board; and that I am informed about the complete           20 Page#___ Line#___ Reason:_______________________
  21 arrangement, financial or otherwise, with the              21 Now Reads:________________________________________
  22 person or entity making arrangements for                   22 Change To:________________________________________
  23 deposition services; that I have acted in                  23 Page#___ Line#___ Reason:_______________________
  24 compliance with the prohibition on contractual             24 Now Reads:________________________________________
  25 relationships, as defined by Louisiana Code of             25 Change To:________________________________________

                                                   Page 167                                                        Page 169
   1 Civil Procedure Article 1434 and in rules and               1            WITNESS' CERTIFICATE
   2 advisory opinions of the board; that I have no              2
   3 actual knowledge of any prohibited employment or            3     I, MARY VIRGINIA HAINDEL, deponent in the
   4 contractual relationship, direct or indirect,
                                                                 4   foregoing deposition, do hereby certify that the
                                                                 5   same was submitted to me for examination; that I
   5 between a court reporting firm and any party
                                                                 6   have read the deposition and find it to be a true
   6 litigant in this matter nor is there any such
                                                                 7   and correct transcription of the testimony as
   7 relationship between myself and a party litigant            8   given by me before Aurora M. Perrien, RPR, CCR,
   8 in this matter. I am not related to counsel or to           9   with the exception of any corrections noted on the
   9 the parties herein, nor am I otherwise interested          10   attached Errata Sheet(s).
  10 in the outcome of this matter.                             11
  11                                                            12
  12                                                            13            [ ] Without Corrections
  13
                                                                14            [ ] With Corrections, as reflected
                                                                                 on the Errata Sheet(s)
  14
                                                                15               prepared by me and attached
  15           AURORA M. PERRIEN, RPR, CCR                                       hereto, consisting of
  16                                                            16               ___ pages
  17                                                            17
  18                                                            18
  19                                                            19
  20                                                            20

  21                                                                 _________________ ____________________________
                                                                21       Date      Deponent's Signature
  22
                                                                22
  23
                                                                23
  24                                                            24
  25                                                            25


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